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                          Youtube Meeting

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               MIAMI PROUD BOYS MoSD BRIEF
                     YOUTUBE MEETING




                    DECEMBER 30, 2020




Prepared for:
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 1      PROCEEDINGS                                          1      MR. BERTINO: Shweats, what up, Dick
 2      MR. TARRIO: We are, we are live now.                 2   Shwit. Yeah, I always thought his name was Dick
 3   Let me --                                               3   Sweets.
 4      MR. BERTINO: Live from New York, it's                4      MR. TARRIO: No, but there's, there's a
 5   the Brown Faggot Show.                                  5   Dick Sweets.
 6      MR. TARRIO: Hold on. I got to, I got                 6      MR. BERTINO: There is a Dick Sweets?
 7   to fuckin' -- my Telegram is not working so I have      7      MR. TARRIO: Yes.
 8   to email shit to myself.                                8      MR. BERTINO: Well, there's, there's a
 9      MR. BERTINO: Why is your Telegram not                9   Dick Tits too, and that was kind of --
10   working?                                               10      MR. TARRIO: There is a Dick Tits too.
11      MR. TARRIO: On my desktop, I don't know             11      MR. BERTINO: Yeah, I was confused, Dick
12   why.                                                   12   Tits, Dick Sweets, Dick Sweats.
13      MR. BERTINO: Hmm, you got to update it.             13      MR. DONOHOE: Now he doesn't need to go
14   I just had --                                          14   to DC.
15      MR. WOLKIND: That's Danny Mack.                     15      MR. TARRIO: Now, can you guys see the
16      MR. TARRIO: Danny Maggot, Danny Maggot              16   comments on the right side?
17   is coming in.                                          17      MR. BERTINO: Yes.
18      MR. BIGGS: And a whole bunch of people              18      SPEAKERS: Yes.
19   on Telegram, so it got blocked.                        19      MR. BERTINO: You see the private chat.
20      MR. TARRIO: Don't lock me out of this               20   Just click on the little comment thing, you should
21   app. Now open link, you fuck.                          21   be able to see it. Okay, what's up, Kenny?
22      MR. BERTINO: Did you lock the chat                  22      MR. TARRIO: Okay. And Mr. Paul Ray is
23   down?                                                  23   in here too. And we got Jeffy.
24      MR. TARRIO: Yeah, it's locked. But you              24      MR. BERTINO: Wait. Why, why it Dick

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 1   guys can --                                             1   Sweats coming up in the private chat?
 2      MR. BERTINO: They're asking live where.              2      MR. TARRIO: Because, because he's
 3      MR. WOLKIND: Okay, here we go.                       3   probably typing in the YouTube and switching back
 4      MR. TARRIO: Okay, I don't know if you                4   over.
 5   guys -- can you guys see the comments on, on your       5      MR. BERTINO: Oh.
 6   right-hand side?                                        6      MR. TARRIO: Oh, you mean in the private
 7      MR. BIGGS: No.                                       7   chat here? Oh, because he's, he's in studio. So
 8      MR. BERTINO: If I escape out of full                 8   anybody that's in studio can type in that private
 9   screen, I would be able to but let me see.              9   chat, but in the common section, you're, you're able
10      MR. TARRIO: You should be able to see.              10   to see like what people are typing as we go.
11      MR. WOLKIND: I can, I just don't see                11      Someone is trying to enter your studio
12   any yet.                                               12   but it is full. So the studio is completely full,
13      MR. BERTINO: I don't see any yet.                   13   gentlemen, so we cannot allow anybody else in. And
14      MR. TARRIO: Yeah, go ahead and flash,               14   somebody by the name of Coonass is in the studio
15   wave your arms there if you're ready, okay.            15   too.
16      MR. BIGGS: We only have one viewer.                 16      MR. BERTINO: Yeah, Brian, Brian, you're
17      MR. TARRIO: Yeah, that's fine. I'm                  17   right there. Brian Healion, that's exactly what
18   guessing -- let's give them some time. We can, we      18   we're going to do. (Inaudible).
19   can use this as an archive.                            19      MR. TARRIO: All right. So we got 13 in
20      MR. BERTINO: Okay. Did you, did you                 20   here. Let's, let's see if we can get to 15 because
21   get the link in there yet?                             21   we have not only 13 up there but we have one, two,
22      MR. TARRIO: Yeah, I put it up. It's                 22   three, four, four in studio.
23   pinned. Okay. So we have one in the waiting room       23      MR. BERTINO: Okay, let's wait for
24   which is Mr. Dick Shweats is in there.                 24   everybody else to join up. New comments.

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 1 Somebody's got to drop the N. Was that one for             1 trust in here, so all of you that are in here, just
 2 Enrique?                                                   2 to let you know, like we have our eye on you and we
 3    MR. TARRIO: So just so you guys know,                   3 trust you guys and expect you guys to behave
 4 the guys that are trying to get in right now, we can       4 properly and be a good molding cement for this
 5 only take ten people in here at a time and then            5 chapter.
 6 there's six, which is part of the leadership, and          6    We're also going to implement a zero
 7 the rest are guests. So if you're just watching,           7 tolerance rule for insubordination. Like one of the
 8 you could go ahead and comment on the side. I'll           8 admins, a.k.a., either one of the directors or one
 9 read out some comments. I'll even put them on the          9 of the regional commanders, like myself, Aaron,
10 screen. Like I could go here and I could go: "Good        10 Bertino and --
11 to see you, Jeremy, God bless, brother." So I can         11    MR. TARRIO: Matteo (phonetic).
12 put your comments on the screen and we could answer       12    MR. DONOHOE: Matteo and --
13 questions at that point and then we'll start              13    MR. BERTINO: Zach.
14 bringing -- after the initial explanation, then           14    MR. DONOHOE: Zach, if we decide that
15 we'll go ahead and, and start bringing people in for      15 you're not a good fit, we don't have to explain to
16 questions.                                                16 you or anything like that. We'll just kick you out
17    So yeah, we're at 17, that's a                         17 of the chapter. That doesn't mean you're disavowed
18 threshold. I'm going to be looking at comments.           18 nationally. That just means you're out of this
19 Yut, if you want to start with how we're structured       19 chapter.
20 and then I'll comment a little bit and then I'll          20    Um, and then lesser offenses, you know,
21 open the floor for any of us six to comment.              21 we'll hold a sharia. If you have a good case to why
22    MR. DONOHOE: All right, gentleman, so                  22 you did what you did and then somebody says, oh, no,
23 we completed a list of how we're structured on            23 you need to, you need to get the boot out of the
24 Saturday, December 26th, all right. Basically this        24 chapter, then we'll hold a sharia court. And


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 1   specific chapter is going to have a code of conduct      1   that's, that's all I got, Enrique, so I'll turn the
 2   stricter than other chapters when it comes to these      2   floor back over to you.
 3   national public events. For one, the biggest one is      3      MR. TARRIO: Okay, so let me, I'm going
 4   no intoxication. So if you want to be a part of          4   to break those down a little bit. So number one,
 5   this and want to be boots on ground to help with the     5   OPSEC, obviously as you guys know, like don't
 6   security and help with this chapter, you know, if        6   fuckin' share screen shots. That's pretty fuckin'
 7   you have like a beer or two, that's fine, but if you     7   basic. I don't have to go over that.
 8   are noticeably stewed or drunk or geeked up, then        8      As far as, like people know that this
 9   you're going to get the boot.                            9   exists, so the statement is we need a way to do
10      Number two is OPSEC. Do not release                  10   rallies better. We fucked up on the 12th. I'm not
11   this information, any of it to any other chat. No       11   going to say that we fucked up royally because a lot
12   forwarding, no screen shots. Number three, no           12   of good things happened on the 12th, right, except
13   social media posting. Like don't, don't mention         13   whatever, Jeremy is in here. Fuck that dude. But
14   that there's an MoSD. Don't mention anything like       14   there is, there is things that we need to fix. And
15   that. And this -- all three of those are zero           15   it wasn't because of the 12th. It's because moving
16   tolerance. You'll get kicked out of the chapter if      16   forward, we can't continue to have that issue. It
17   you violate any of those three code of conduct          17   will bury the entire club if one huge incident
18   rules.                                                  18   happens and we're at fault.
19      To go over the mission statement, the                19      I saw a lot of people going on the
20   mission statement is to organize and standardize        20   offense. We're not used to going on the offense.
21   public events nationally. And then, you know, once      21   That's why it's called self-defense. Self-defense
22   we start getting a good track record, hopefully,        22   should always come first. You should always defend
23   guys, we'll follow in suit as they see we're doing      23   yourself. We shouldn't put ourselves in harm's way,
24   the right thing. We're bringing in guys that we         24   right? We've been known to defend people. I get

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 1   it, right, but it doesn't mean that we have to go         1   these things together and put it together in a
 2   out and look for it.                                      2   cohesive fashion, all right. Both groups are kind
 3       Touching on the subject -- what was the               3   of interchangeable because I'm guessing, like if, if
 4   second thing, Yut?                                        4   there's a special message that is recommended to be
 5       MR. DONOHOE: Um, either the social                    5   put out, then we'll go ahead and we'll put it out.
 6   media posting or the zero tolerance.                      6   If there's something that we want to do, whether
 7       MR. TARRIO: Yeah, well, yeah, we had                  7   it's to move in one direction or move in another,
 8   gone over that. I went over that.                         8   it's up to the operations to go ahead and make that
 9       MR. DONOHOE: Well, no intoxication.                   9   happen, right.
10       MR. TARRIO: Yeah, the no intoxication                10       And then we structured it by regions, so
11   thing, it just, it just applies to the rallies,          11   there's also going to be, under that, there's going
12   right? You guys can get as trashed as you want           12   to be eight people tasked with their specific
13   after the rally or before the rally, not right           13   region. So if we go to Portland, there's going to
14   before the rally, but don't get trashed. I saw a         14   be somebody that's going to be there local. We're
15   lot of people fuckin' drinking, a lot of people          15   always going to depend on the local chapter and
16   fuckin' fighting. Okay, I had to fuckin' slap            16   always contact the local chapter, the local Proud
17   somebody at that fuckin' event because they were         17   Boys chapter before we go somewhere. And in DC,
18   trying to push the entire crowd in one direction and     18   we'll have somebody that is representative of that
19   I'm trying to fuckin' push the crowd in another          19   fuckin', that region because you guys talk to each
20   direction.                                               20   other. You guys, East Coast guys have pretty much a
21       Now that goes with the whole thing. I                21   communications networks, so it's easier for you guys
22   don't want this -- this isn't a foke (phonetic)          22   to communicate, just like it's easier for the West
23   thing. This isn't a fuckin', a thing where it's          23   Coast guys to communicate. But we need that top
24   going to be a fuckin' super militant fuckin' thing,      24   down structure in order to get what we need to get

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 1 but we do need to organize better and in order to do        1 done.
 2 that, we need to have a top down structure, right.          2    I'll address the whole fuckin' Brian
 3     There is six people involved at the top                 3 James thing today. The chats are not a place for
 4 level of this. I don't think I used the word                4 you guys to fuckin' fight, all right? It's not a
 5 "marketing" correctly. I think that's going to have         5 place to fuckin' argue. It's a place to be, for it
 6 to be renamed but there's three people that are in          6 to be something productive. You know, you could do
 7 charge with how we are perceived and what message is        7 constructive criticism. You could fuckin' criticize
 8 to be put out, okay.                                        8 me or, or the Hated One over here on my side over
 9     And those people, we'll talk to them                    9 here that takes a lot of heat for shit that he's not
10 three, amongst them three and amongst the other            10 even responsible for, for shit that he doesn't
11 three, which are the operation guys, to see what,          11 fuckin' even do, right.
12 what messages we're going to be putting out. So            12    So you could do that. I'm not saying
13 I'll give you the prime example. Yesterday we had a        13 that you can't do that. This isn't like one of
14 little voice chat and we said, well, what we should        14 these things that we're going to fuckin' burn you
15 do is scare the shit out of them and tell them that        15 because of it. It's just let's be constructive in
16 we're going to be dressed in black. And it worked.         16 there.
17 It made headlines, right? Because we're not going          17    Also there will be, we're going to start
18 to have a lot of guys on the ground this time,             18 turning off that chat for long periods of time and
19 right? We're not going to have a thousand Proud            19 then turning it back on so you guys can discuss
20 Boys on the ground. So we need to appear bigger            20 things, but that chat is not a place to chatter. If
21 than what we are, so that's why we decided to go           21 you guys want to talk to the guys, go to the Proud
22 with that.                                                 22 Boys main, talk shit there. But the way that these
23     Now, the next three are the sets, the                  23 national rallies are going to be conducted is my --
24 set of operations which is just being able to put          24 like our dream of this is we have, you know, 400,


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 1 500 members and we say, hey, we're going to go to       1 still going to be operating later in the night, that
 2 fuckin' DC. We're going to go to Austin. I know         2 doesn't mean go back to your hotel room and get
 3 that Rufio had just briefly mentioned today that we     3 fucking shit-faced, and then come back out onto the
 4 should go to Montgomery, Alabama, and do the SPLC       4 street and want to roll with formations and you
 5 thing. This is where, this is where we come into        5 can't even fuckin' keep your, your ass walking in a
 6 play and we as that chapter fuckin' go ahead and do     6 straight line. Don't be a drunken sloppy asshole.
 7 that and plan that and put that together.               7 That's basically what it is.
 8    You have to have a home chapter, right?              8     MR. TARRIO: That's actually a really
 9 This isn't, this isn't like something that you could    9 good fuckin' point, yeah. It doesn't mean -- like
10 join without having a home chapter. You have to be     10 we're, when we're somewhere, it's dangerous wherever
11 a Proud Boy. So the 75 or the 74 of you that are in    11 we go. And to kind of piggyback, John, are you
12 this have been hand picked because we're used to       12 done? Because I'm going to piggyback off of that
13 dealing with you or we see that you have, like some    13 really quick.
14 type of throttle control.                              14     MR. STEWART: Yeah, for now.
15    MR. BERTINO: Except for Dick Sweets.                15     MR. TARRIO: Um, another thing on this
16    MR. TARRIO: Except for Dick Sweets. He              16 specific rally, we are not wearing our traditional
17 has no throttle control but we love him, we're         17 black and yellow Fred Perry. We're going to go a
18 keeping him there, you know. So -- and it's not        18 little bit more in cognito, put some fear in them.
19 Dick Sweets. It's Dick Sweats.                         19 It's worked out. But that's not always going to be
20    MR. BERTINO: I know. I just wanted to               20 the case. If the local chapter says, yeah, hey, you
21 get you to say Dick Sweets.                            21 know what? You can fuckin' wear Perrys, we don't
22    MR. TARRIO: All right, so that will be              22 give a fuck, then we're going to go in Perrys.
23 a clip there that guys can play.                       23     So okay, anybody else? Biggs? Zach?
24    So we just, we just -- we trust you                 24     MR. REHL: Yeah, yeah, I just want to

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 1 guys, right? We trust you guys to do the right          1 kind of like reiterate, I kind of missed the first
 2 thing, that your throttle control is going to be        2 couple of minutes. I was trying to get into this
 3 there, that you're not, you're not going to just run    3 group thing and everything.
 4 in and think you're a fuckin' hero. Because we're       4    But I know a lot of people in here,
 5 not heros, okay. People may perceive that we're         5 we're well aware of some of the comm values and
 6 heros but in all actuality, I've said this a whole      6 everything that happened in the last DC chat, well,
 7 bunch of times, we're a bunch of fuckin' retards        7 not the last -- the last DC event mainly due to, you
 8 that get pointed in the correct direction and we,       8 know, not knowing who, who was running it and who
 9 we've kind of lucked -- this whole thing has been       9 was organizing. And there was like two or three
10 kind of luck and kind of charm, as we're some          10 different, you know, comm groups and, you know,
11 charming handsome motherfuckers, too. We get away      11 they're all -- everybody was doing their own thing.
12 with a lot of things because we're fuckin' some sexy   12 And I just want, I just want to let everybody know,
13 ass motherfuckers.                                     13 like, one of the reasons why we're doing this is
14    MR. BERTINO: We're silent big dick                  14 that way, we are actually one cohesive unit on that
15 Ninjas.                                                15 and everything.
16    MR. TARRIO: Exactly. So I don't know                16    And you know, we're going to definitely
17 if you guys want to touch up on anything. Yut, did     17 be on the same page as far as comms at this point in
18 I miss anything there?                                 18 the future, and if, if there, if there's any
19    MR. DONOHOE: No, not on that.                       19 questions as far as like who you need to go to,
20    MR. TARRIO: Okay, all right.                        20 there's going to be actually somebody that, you
21    MR. STEWART: Hold on one second about               21 know, you can actually, you have to go to. So
22 the, about the drinking. You do whatever the fuck      22 that's all I have to add. Like the comms thing,
23 you want, but if the operations don't stop at night,   23 really last time really bothered me because we was
24 that doesn't mean once the rally is over, if we're     24 setting comm fuckin' units and fuckin', I found out


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 1 there was two more comm units. So we're one fuckin'       1   bit later. I want to discuss the structure of this
 2 organization. We're going to be one unit and that's       2   thing and how it works. And then we'll start
 3 how it's going to be. So I'm out on that one.             3   moving. I know, I know that we've discussed a
 4    MR. TARRIO: Okay, I want to touch on                   4   little bit of things for DC but I'm just using it as
 5 that really quick. So I gave you guys the breakdown       5   an example.
 6 of the structure on the top level. When we get on         6       MR. BERTINO: Gotcha.
 7 the ground and in this case on Tuesday night, we're       7       MR. TARRIO: Okay, the floor is open.
 8 going to have your typical security, your security        8       MR. BIGGS: All right. Do we ever, do
 9 brief that we always do. The time and the place is        9   we want to cover the phone list too, remember, to
10 to be set, but we're going to break you down into        10   have people to call or contact in case something
11 like fuckin' smaller squads of ten, right. As I'm,       11   happens?
12 as I remember, ten, ten-man squads.                      12       MR. TARRIO: Yeah. So what Biggs had
13    MR. DONOHOE: Yeah, ten, ten is correct.               13   said and what we decided on is that we're going to
14    MR. TARRIO: Yeah, we're going to break                14   have like some type of emergency contact for you
15 you guys down into ten-man squads, and you guys are      15   guys. I'll make a form for that and I'll put that
16 going to -- you guys are going to be, for the most       16   in the chat, and that is going to be mandatory for
17 part, we're going to stay together but you guys are      17   you guys to fill out. You don't have to put a name,
18 going to make sure that you guys, you ten guys are       18   you don't have to put anything. Just give us some
19 always together. I don't think as a massive group        19   type of contact information for somebody. Because
20 we should be using markers, identifying markers,         20   there was, there was a lot of times that it was
21 right, because those identifying markers are             21   difficult for me to figure out who was in and who
22 counterproductive to what we're trying to do at this     22   was out and how do we contact their loved ones.
23 particular time, right. So you're going to               23       MR. BERTINO: Yeah. Like for example
24 familiarize yourself that night with those ten           24   with me, luckily, you know, there was, somehow the

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 1   people and those ten people, you're going to roll       1   communication got there. But you know, when I got
 2   with together. As of right now, the plans for the       2   sent to the hospital, nobody knew, you know, who to
 3   6th is just to remain as a nucleus. So I'll, I'll       3   contact for me. If I would have, you know, conked
 4   give the floor to whoever is, whoever wants it.         4   out in the ambulance right there, you know, and
 5      MR. DONOHOE: All right. So with the                  5   never got to contact anybody. So that's really
 6   ten-man squad, the reason we're picking ten instead     6   important that everyone gets a list of each other's
 7   of others is you can count to ten on your two hands.    7   loved ones, and I hate to even use this term but
 8   So if you're that squad leader and you only count       8   next of kin, you know what I mean, like somebody
 9   nine, you're fucked up. And, but even with the big      9   that we need to notify if something does happen to
10   nucleus, roll as a nucleus, I suggested, Enrique,      10   you.
11   that we still put it into ten-man squads. That way     11      MR. BIGGS: And just say like, you know,
12   we have full 100 percent accountability.               12   emergency contact one, two, three or four. You
13      MR. TARRIO: Yeah.                                   13   don't have to say it's my mom, my girlfriend, my
14      MR. DONOHOE: Some nobody goes missing.              14   wife, whatever the fuck. You know, just something
15      MR. TARRIO: Definitely, definitely,                 15   like that so we know that we have someone we can
16   that's what I said. Even though we're staying          16   contact if something happens, so we can, you know,
17   together as a squad, we're still going to split up     17   cover all ends. Because the last thing we want is
18   into those ten groups.                                 18   for someone to find out about one of us getting hurt
19      MR. DONOHOE: Gotcha.                                19   in the news and not by one of our own, so we want to
20      MR. BERTINO: So somebody just posed the             20   be able to nip that in the bud.
21   question: "What exactly is our goal for DC? Should     21      MR. TARRIO: Yeah.
22   it be discussed in person or are we going over it      22      MR. REHL: A lot of the guys in these
23   here?"                                                 23   operations right here are military guys and
24      MR. TARRIO: We'll go over that a little             24   everything and, you know, it's one of the first

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 1   things that we're thinking about when it comes to       1   reference to the alcohol that they saw somebody
 2   that kind of shit. So we want to make sure              2   falling down drunk. Don't be that fuckin' guy.
 3   everybody actually is like, you know, protected and     3   That's all I'll say.
 4   we have somebody we can contact. That's all.            4      MR. TARRIO: Yeah, and to touch on
 5      MR. BIGGS: And another thing, too,                   5   something that you just said, Johnny, and there was
 6   we'll talk about in the future is medical kits and      6   a question about it, he says: "We need a dedicated
 7   stuff like that. Like I said, we're not really          7   communications guy."
 8   going to discuss a plan for that yet, but it's          8      We will have a dedicated communications
 9   something in the future that we will discuss. That      9   guy. And with that being said, it's easier to run
10   way we have some kind of organization as to what       10   communications if -- it's easier to run
11   we're carrying away. If someone goes down and gets     11   communications if while we grow this group bigger
12   hurt and we have to use their supplies and then        12   and bigger, right now it's only 75 guys, right. But
13   maybe another person beside you lost theirs, we can    13   we're going to continue to grow, we're going to
14   reach into any individual first aid kit and have       14   continue. And you know, at some point we're going
15   whatever it is we need to reach in and grab to make    15   to have, you know, what, fuckin' 75 guys, 750 guys,
16   sure that we can save that person's life or at least   16   a thousand guys or whatever the fuck it is, but
17   do the best we can until first responders get there.   17   we're going to gradually grow it. Because that's
18      MR. BERTINO: Yeah. My IFAK that I was               18   the only way we're going to do it.
19   carrying on me that I always have saved my fuckin'     19      So if we just slam it and put a thousand
20   ass that night. Somebody put the, the chest, chest     20   guys in there, it's going to fuck us up. So the
21   vent on me and saved me. So yeah, carry an IFAK if     21   communications guy is really important for that
22   you don't fuckin' have one.                            22   because he needs to adapt to the size of the group
23      MR. STEWART: I want to get back on                  23   and how we communicate. But yes, there will be a
24   topic on what Yut was saying about splitting off       24   dedicated communications guy when it comes to that.

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 1   into ten-man groups. There's been a lot of              1      MR. BIGGS: There was kind of a question
 2   questions over the last few days about what are we      2   in here and the private party says: "Had a few guys
 3   doing to stop this rando from running off to rock a     3   (inaudible) and want to stick with me but are not in
 4   piss by himself. We're not doing anything, because      4   this chapter, they know not to wear colors but want
 5   the expectation is you're not going to be that dumb.    5   to hang around the chapter. How do we address that
 6   You have ten guys that you're going to be with. If      6   moving forward?"
 7   you go to piss by yourself, one of the people you       7      MR. TARRIO: Okay, so that's a simple
 8   see on your screen is going to be having a              8   answer. The 6th in very unique because we have lots
 9   conversation with you when we find out about it.        9   of Proud Boy groups that are coming. You can
10   You shouldn't be doing dumb shit like that. Ten        10   decide, and I put this in the chat, you can decide
11   guys, go to piss, ten of you. Let somebody else        11   if you want to be with your chapter or not, but you
12   know so that the rest of the formation doesn't move    12   either decide to be with us or you decide to be with
13   out. Comms will be in place. But that, that sort       13   your chapter. And this, there's nothing that's
14   of low IQ bullshit in a hot zone should never happen   14   going to fuck you up from doing that. Like we're
15   with this group.                                       15   not going to be like oh, fuck this guy, he doesn't
16       If we were going to have that kind of              16   like our chapter. That's fine, you can go with your
17   shit, then we're wasting our time. We could just go    17   chapter, right.
18   back and do the regular rally thing. We already        18      We want to -- we're using this as a
19   have that on block. So turn your brains off a          19   training exercise so we can stay as one fuckin'
20   little bit on trying to figure out what the big        20   unit, right? Later on in the future, it's going to
21   picture is and follow the ten guys that you're with.   21   become more and more unpopular, right, to come to
22   You're going to have a leader of those ten guys, so    22   these things without being part of this chapter at a
23   handle it that way and make sure you're tight.         23   national level. Obviously at a local level, you
24       I saw somebody in the chat say in                  24   guys can do whatever the fuck you want. But again,

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 1 I reiterate, like we need to do national events a          1   fact, this is just, this works as any other chapter.
 2 lot better than what we've, we've been doing in the        2   And this chapter is very unique in the sense that it
 3 past.                                                      3   does not have a vote at the national level for
 4    Obviously, I am going to say that we've                 4   anything. So there is no representative that
 5 done a very good job in the past. I'm not negating         5   represents this chapter and can put, and can make a
 6 that we've, we've fucked shit up most of the time          6   vote to change anything else in the organization.
 7 but I do see problems arising with events like             7      MR. BERTINO: Yes, you have to get your
 8 December 12th. The floor is open.                          8   seconds again with our penises.
 9    MR. STEWART: One more last thing here.                  9      MR. REHL: You got to go through a
10 The big thing, the biggest thing that I'm trying to       10   gauntlet.
11 drive home with all of this that I'm saying is the        11      MR. STEWART: I was just going to say,
12 difference between this and December 12th is there        12   these motherfuckers aren't ready for the PA
13 will be accountability with this group. If you fuck       13   gauntlet, no.
14 something up in here, you're going to know about it.      14      MR. TARRIO: Oh, get out of here, you
15 You fuck something up beyond repair in here, you're       15   guys are (inaudible).
16 not going to be in here anymore. That's the main          16      MR. WOLKIND: My gauntlet is better than
17 difference.                                               17   your gauntlet.
18    A lot of guys are saying, well, how do                 18      MR. STEWART: They'll be pissing blood,
19 we stop this, this retard shit from happening or how      19   I promise you.
20 do we start -- or how do we stop this asshole from        20      MR. DONOHOE: Here's one, here's one
21 doing this? It's very simple. This is not like            21   from J HenFRT4. "I think we need two forms of
22 other things. You'll be held to account for the           22   comms, just in case we have issues."
23 shit that you do in here, the things that you say,        23      MR. BERTINO: Redundancy, yeah.
24 the way you behave and the way you conduct yourself       24      MR. DONOHOE: Yeah, that's definitely

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 1   in public. That's just how it's going to be.             1   going to be something that we do, but as of now
 2      MR. TARRIO: Yeah.                                     2   since we're still small, I think we're --
 3      MR. DONOHOE: All right. So Enrique, if                3      MR. WOLKIND: We're just trying to get
 4   you can --                                               4   everybody pointed in the same direction.
 5      MR. REHL: Go ahead.                                   5      MR. DONOHOE: Yeah, we want to find a
 6      MR. DONOHOE: If you can answer this                   6   more dedicated comms guy to get everybody on the
 7   question from Kenny. "Is it chapter leadership           7   same page.
 8   position nationwide?"                                    8      MR. REHL: Right, and we have actually,
 9      MR. TARRIO: I kind of know what he's                  9   we do have some guys who are like extremely skilled
10   trying to say with that. This is -- the way that        10   with comms and everything. We just, we just got to
11   this works and the way that we approved this,           11   get everybody on the same page with the comms, you
12   because what I didn't want to do is I didn't want       12   know. Last time it was, like I said, it was a shit
13   this operation that we're going to fuck with the        13   show before. We had multiple different groups doing
14   structure of anything else. So the only way that we     14   comms and, you know, we -- we're going to find our
15   were able to do it is create its own autonomous         15   top guy to deal with it, you know, put the comm
16   chapter. So think about it like this. It just           16   together. We're going to have like a one-unit
17   doesn't have a home, but think about it like this.      17   thing, at least for different levels of what we're
18      Pretend all of us live in the same                   18   trying to do and everything here. And it's going to
19   place. It has the same exact structure as your          19   be cohesive and it's going to be on the same page
20   normal chapter would have from the top up, right?       20   and it's going to be well-known and executed. So
21   And there's consequences for what you do in your        21   that's, that's the plan and that's where we're
22   chapter. There's consequences for what you do in        22   trying to go with that. No confusion.
23   this chapter. So that was the only way to kind of,      23      MR. WOLKIND: Yeah, and so just kind of
24   kind of bridge that divide. But no, as a matter of      24   to clarify and summarize everything of like exactly

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 1 what this is so far. So basically, you know, we all     1   be tight and it's going to be tight. So that's,
 2 saw what happened, you know, on the 12th in DC. We      2   that's on your list to hammer that shit out and get
 3 were really disorganized and there was a lot of         3   all that granular stuff figured out.
 4 problems that kind of came from that                    4       But first, we just want to get everybody
 5 disorganization. So I think there's a little bit of     5   on the same page, pointed in the same direction so
 6 confusion about how this is, you know, structured.      6   that we're not all over the place and, you know,
 7    So basically in a nutshell, each rally               7   making a mess of, making a mess of things. That's
 8 needs to have a strategic objective. You know, we       8   it.
 9 just don't show up somewhere just for no reason, you    9       MR. STEWART: That's a, that's a good
10 know. When we do a public event, we're going into      10   point, Aaron. Another question I saw today was
11 the public space. We have a goal in mind. That's       11   there was some concern about who directions were
12 what the marketing team is starting out with. The      12   coming from. And they could come from any single
13 marketing team is going to start with a strategic      13   person that you see on your screen right now, as
14 objective that they want the Proud Boys to             14   well as about seven or eight more people that you
15 accomplish, whether it's political or something,       15   don't see yet because they're not obviously on the
16 like the SPLC thing. That's a great example.           16   screen. But the one thing that everyone has to
17    What the logistics team does, the                   17   understand is yes, you might be getting told things
18 operations is we basically just figure out how to      18   from different people but it's all information from
19 get that done safely and get everybody home in one     19   the same plan. Biggs isn't going to tell you
20 piece. So we basically just support the marketing      20   something different than I'm going to tell you.
21 team, and that's kind of how we -- that's the reason   21   Enrique isn't going to tell you something different
22 why we use that, that nomenclature for how we          22   than Zach is going to tell you. It's all one
23 structure it.                                          23   operational plan, so don't get hung up on, on the
24    Another big thing of this is, you know,             24   delivery. The information is all the same.

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 1 with a thousand Proud Boys in DC, you know, we're       1       MR. TARRIO: Amen. Next up. Any other
 2 together sometimes. We're all over the place at         2   questions you guys see or anything else that you
 3 sometimes, but there was no way to control, you         3   want to address?
 4 know, there was no control over that. So hopefully      4       MR. DONOHOE: Yeah, I'll address
 5 with this, with this new structure in place, what       5   something. This is something that we all need to
 6 we'll be able to do is, it will give us like the        6   talk about, but the escalation of force. Obviously
 7 freedom and the flexibility to break off into           7   with a ministry of self-defense, so escalation of
 8 modular elements where you can have smaller teams       8   force isn't going to be to go out and attack. It's
 9 that can maybe go two blocks over, without everybody    9   going to be more of like a bodyguard system. So
10 just following, you know, the guys and now you have    10   obviously we'll be around the marketing team,
11 700 guys going, you know, two blocks over just         11   a.k.a., the dudes that get all the prats and stuff
12 because they see the guy next to them moving. You      12   like that and basically be a bodyguard service for
13 know, now we'll have a little bit more control where   13   the mission that they're trying to accomplish.
14 we can send elements in different directions, in       14       But that being said, there is also going
15 different places, doing different things. And not      15   to be smaller teams that go out and do things like
16 necessarily in an offensive manner but just            16   recon and quick reaction force in case somebody gets
17 generally speaking so we can have that, that kind of   17   jammed up in a bind and also to provide information
18 control.                                               18   back to that main element. So as of now, I think we
19    And that's basically, that's kind of                19   all agree on this with deescalation of force, that
20 basically it in a nutshell. Like comms,                20   it's strictly a defensive mode, unless the threat is
21 reconnaissance, reconnaissance is going to be a big    21   so imminent that you believe that your life is in
22 one. That's one of my big things is effective recon    22   danger. What do you think?
23 teams that work hand in hand with, you know, the       23       MR. TARRIO: Yeah, I mean every
24 communication elements. All that stuff has got to      24   situation calls for something different, you know.

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 1 Like we're -- I think on the verbal sense and the         1   off fuckin' down -- we had to fuckin' chase them
 2 media sense, me and Biggs has got in on lock, where       2   down. It breaks us up, and that's what we're trying
 3 we know exactly what we're going to say that will         3   to avoid with what we're doing here.
 4 piss off the media. And you can translate that to         4       This is going to be a strict structure
 5 on the grounds. Now I'm not saying, now I'm not           5   of, no, you're not fuckin' running off. You're
 6 saying to go ahead and fuckin' talk shit. Go ahead        6   staying here. And if you fuckin' run off from us
 7 and talk shit, as long as it, you know, keep it           7   and you fuckin' don't listen when you're told to
 8 fuckin' professional. But we're never going to be         8   hey, get back here, pull back, then, you know,
 9 the ones to cross the police barrier or cross             9   you're out of this fuckin' -- you're out of this,
10 something in order to get to somebody. We're always      10   you're out of this chapter. Like there is --
11 going to be the ones standing back, right, and we're     11   there's no, there's no discussion. It's you're
12 always going to be the ones to fuckin' defend.           12   either going to be here and you're going to do what
13    And we've been really good at it. We've               13   leadership is expressing that you need to do or you
14 been -- let's be honest. We've been really good at       14   don't need to be here. It's a fit in or fuck off
15 that. But what I saw on Saturday was like a fuckin'      15   mentality. And you know, and it sounds harsh but
16 pool of fuckin' unchained pit bulls, just running        16   it's true. Fit in or fuck off. Like you're going
17 into every situation, right. If we don't run into        17   to do what we're going to do or you don't need to be
18 the situation and we just chill, we'll be there.         18   there at all.
19 We're -- dude, there was enough of us to take --         19       MR. TARRIO: Yeah, to touch on that
20 listen, there was enough of us to fuckin' go ahead       20   subject, staying together is probably like the most
21 and do whatever we wanted to do in DC. Nobody was        21   important thing. We had so many fuckin' people go
22 going to be able to stop it.                             22   off on their own. That's one of the -- that's
23    MR. BERTINO: Not the cop, not nobody                  23   actually the biggest problem that we had. I spend,
24 was going to stop us.                                    24   and this includes in most rallies but it's more

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 1      MR. TARRIO: Yeah, you know, so just                  1   controllable when it's a smaller group. I spend
 2   granted by that fact, we need to chill. We need to      2   most of my time in rallies fuckin' bringing people
 3   relax. We need to get all of our guys home, right.      3   back.
 4   And one thing that we don't -- we're talking about a    4      MR. BERTINO: Mm-hmm.
 5   lot of serious shit right here, but one thing that      5      MR. TARRIO: I'm just fuckin' corralling
 6   we can't forget is to have fun, right. So enjoy         6   everybody, right, trying to keep everybody from
 7   ourselves out there. Enjoy the boys, get fuckin'        7   doing something stupid. If there's one dude --
 8   hammered, get trashed. Those are things that, that      8   there's a thousand of us, dude. Like we could
 9   we --                                                   9   literally fuckin' stampede over this dude without
10      MR. BERTINO: And don't get stabbed.                 10   using our hands and just walk over him and it's
11      MR. TARRIO: And don't get stabbed,                  11   over. So your throttle control is important and
12   which Jeremy broke that rule a couple times.           12   listening is really fuckin' important, please. So I
13      MR. REHL: Thanks, Jeremy.                           13   can't stress that enough. That's the most important
14      MR. BERTINO: I'm not the only one of                14   part here, gentlemen.
15   us. There was four; there was three others, so.        15      MR. BERTINO: And learn how to stay in
16      MR. TARRIO: They're all going to be                 16   fuckin' formation.
17   disavowed by the end of this.                          17      MR. REHL: And I kind of want to, I
18      MR. BERTINO: But yeah, touching on what             18   guess I'll touch on what Jeremy was saying. Like
19   you were saying, what I noticed was just everyone      19   look, like there's this structure here and
20   was like hyper on edge at that last rally. And you     20   everything like that, but you guys got to
21   know, what we're trying to avoid by doing this is      21   understand. Like everybody who is in here,
22   like that cowboy shit, where people are running off,   22   everybody who is like listening right now, you guys,
23   you know. Like when we were leaving the Freedom        23   you guys are part of this entire thing here, you
24   Plaza, I saw the dudes in the fuckin' skirts running   24   know. Like we're, we're hoping you guys are going

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 1 to be here to be able to help us out and execute        1 won't follow the rules --
 2 these plans and, you know, get these guys on the        2     MR. REHL: And -- go ahead.
 3 same page as, you know, the mission plan that we're     3     MR. STEWART: Kenney asks, it says:
 4 all trying to, you know, put in place here and          4 "Everyone wants to help but what happens to the guys
 5 everything like that. We don't want guys getting        5 that don't follow the rules?"
 6 stabbed. You know, we don't want guys getting shot.     6     SPEAKER: We rape them. Full rape.
 7 We don't want anything bad happening or anything, or    7     MR. TARRIO: Yeah, full rape. But just
 8 any -- anybody at all really. But you know, when we     8 to give you an example of that, one of the rules
 9 decided to put this team together, we put this          9 when you go in the chat, it fuckin' tells you as
10 leadership structure together so that we can, we can   10 soon as you come in, it tells you the chat rules.
11 nationally, you know, organize these, these events     11 That's not a place for banter. You're not going --
12 and everything, and you guys are part of this whole    12 you fuckin' take shit to DM. Okay. He continued
13 entire thing.                                          13 and I removed him from the chat, right? There's
14     So don't look at it like this, it's not            14 going to be, there's going to be situations where
15 a dictatorship type thing. I think Enrique was         15 it's not that heated, but dude, if you don't listen,
16 saying something about that earlier. But no, it's,     16 there will be consequences. That's another reason
17 it's just a structure, you know. And the more          17 why we established a chapter, so there will be
18 everybody is onboard with it and the more of you       18 consequences for those people coming forward. So
19 guys who are, you know, able to buy into it and be     19 that could range from multiple things.
20 able to like, you know, get your guys onboard with,    20     I don't think that we've talked about
21 with like the plans we're putting out and              21 too much what happens in between. You get kicked
22 everything, the more successful these things are       22 out and the sharia, but the consequences in sharia,
23 going to be. And you know, there's going to be         23 you know, can go from a suspension. And at that
24 some, some errors. There's going to be some issues.    24 point since it's not a regular fuckin' thing where


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 1 There's going to be things we're going to have to       1   we meet every month, it might suspend you from a
 2 work on and everything, but you know, we're going to    2   couple of rallies. It might suspend, it might -- a
 3 work on that kind of shit together and hopefully,       3   beer tax might be something that we're thinking that
 4 you know, in the future, we're going to be a lot        4   we think that should be, for like smaller offenses.
 5 better at it. So, you know, that's all I have.          5      MR. BERTINO: Can we do a cocaine tax
 6    MR. TARRIO: I want to, I want to answer              6   instead?
 7 this question right here. "Some people really hate      7      MR. TARRIO: Cocaine tax, not on the
 8 the long optics march, some can't handle the long       8   table in Mindcraft.
 9 march. Is there a way we can keep the big march         9      SPEAKERS: Paying taxes really turn
10 shorter or optional?"                                  10   people off. Yeah, that's [simultaneous speech.]
11    That long march doesn't happen often.               11      MR. TARRIO: All right. You guys, go
12 DC is a very big place and it's very, it's really      12   ahead, keep going. Answer that question thoroughly
13 tiring, sometimes when it's cold or when it's too      13   if you want, or move on to the next one.
14 hot. But the truth is, like sometimes it's going to    14      MR. DONOHOE: I mean that's, that's all
15 require a long march. You know, sometimes it is        15   I have on my list. We had medical.
16 going to require that. So your -- try to stay fit      16      MR. BERTINO: Which we're working on
17 as much as possible, but I don't think that that's     17   that now. That's definitely --
18 going to happen very often where we march those long   18      MR. DONOHOE: Yeah, I figured that one
19 routes. Specifically that's what it called for on      19   is too much. And then, you know, the standard
20 that, on that specific march. I know we walked, I      20   operating procedure, that's going to be as we go
21 think on my watch it said we walked -- the first       21   along.
22 night we walked 14 miles and then the following day    22      MR. BERTINO: Yeah.
23 we walked 13 and a half miles, so, yeah.               23      MR. DONOHOE: And the same with the
24    MR. STEWART: Hey, Kenny, the guys that              24   quick reaction force.

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 1      MR. BERTINO: Yeah.                                   1   could see him in the studio.
 2      MR. DONOHOE: But as of right now, the                2       So another thing about growth, so right
 3   ten-man team for 75 guys, that works perfectly.         3   now, like I said, we're growing. Small and
 4      MR. TARRIO: Yeah. Um, somebody asked                 4   expanding, I think there's going to be one more
 5   here, where was it? Hold on. So "What are               5   expansion before the 6th where we're able to bring
 6   operational -- what's our operational goal for 1/6?     6   more people in. And then that will be the team for
 7   What I'm hearing is a way to stay in sync but the       7   the 6th. And then from the 6th through the 20th, if
 8   goals, are we marching towards?"                        8   we decide to go back to DC, then at that point we'll
 9      So I'm not going to go into too much                 9   grow the group probably one or two more tiers at
10   detail on the 6th. We're going to have a separate      10   that point. But we are going to grow in a small
11   chat, a video chat exactly like this where we're       11   fashion so we can, we can adjust to these things.
12   going to go over with people that are actually         12       I'm going to be putting up a poll on,
13   attending the event, we're going to go over those,     13   on the chat asking who is going to be attending DC
14   those details at that time. Okay, right now what       14   out of this group, so we can get at least a rough
15   we're talking about is just operational stuff and      15   head count and from there, we'll make a decision
16   how this is structured and chain of command, ROE,      16   whether we want to expand the pool or keep it small.
17   things like that, so, okay.                            17   Keep it going.
18      MR. BERTINO: This is not, this is not a             18       MR. STEWART: It's not a floodgate
19   para-military wing per se. So I know a lot of          19   though, right? I mean even if we expand the pool,
20   people are like, well, they're starting this like      20   it's not a floodgate where everybody goes, hey, I
21   para-military wing of the Proud Boys. It's not us.     21   have this guy that I like, let's, let's fuckin'
22   This is not Foke (phonetic).                           22   invite him. There's a vetting process. Everybody
23      MR. BIGGS: It's a mindset.                          23   has to fill out the form. It's just like any other
24      MR. BERTINO: Yeah, it's basically, what             24   chapter. Not everyone is going to work. And some

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 1   we're trying to get you guys to do is we're trying      1   people are going to get in and they're not going to
 2   to, again, avoid all those fuckin' random issues        2   work, and some people are going to get in and say,
 3   that we had to deal with last time that I'm sure        3   fuck those guys, I'm not doing what they tell me and
 4   some of you, it frustrated a lot of you guys. The       4   they'll go. And it will keep spinning like that.
 5   running off. It's, it's -- it can really put the        5   But it's not going to be a fire hose.
 6   rest of us in jeopardy, and so you got to remember      6      MR. TARRIO: Yeah, okay. Anything else
 7   that. And so that's why every one of you has been       7   that you guys want to hit?
 8   picked the way you've been picked. Everyone got to      8      MR. DONOHOE: That's all I have.
 9   pick their ten guys that they trusted. And I don't      9      MR. BERTINO: That's all I got.
10   think it's all the way full yet but, you know, I       10   Somebody just asked: "Are we staying away from
11   picked everybody that I trusted, except for Dick       11   Antifa like on the 12th?"
12   Sweets, but I just wanted to pick him so --            12      MR. TARRIO: I'll be, we'll be making
13      MR. TARRIO: I didn't pick him either.               13   those decisions as we go, so whoever is going will
14      MR. BERTINO: I picked, I picked him but             14   be part of that communication. We'll talk about
15   I picked him so that we could try -- so that he        15   that a little bit later.
16   wouldn't throttle everyone else and he could just go   16      I guess since we're in, since we're in
17   home and throttle himself.                             17   here and we're kind of running out of those things,
18      MR. TARRIO: He's like the, he's like                18   I think it's time that we start bringing people in.
19   the retarded greeter at Walmart. We got him for        19   Dammit, Dick Sweats just fuckin' came off the
20   diversity. When he gets in here, he's going to         20   studio. But I have two people in the studio right
21   fuckin' --                                             21   now. I got Travis and Dick Sweats. He just came
22      MR. BERTINO: He's in here.                          22   in. Let's, let's get -- Dick Sweats has been
23      MR. TARRIO: I know he's in here. I'm                23   waiting, so let me, let me bring him in.
24   watching his face right now. I could see him, I        24      Mr. BIGGS: I'll pop down. Got to move

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 1   around and do some shit real quick anyways.              1      MR. TARRIO: I've been to the Feds.
 2     MR. TARRIO: Okay, all right. Cool,                     2   Wednesday is my (inaudible) day in the Feds, so --
 3   cool.                                                    3      MR. BERTINO: They're only doing that
 4     MR. REHL: He's probably got a lot of                   4   because you're black. That's why they're going to
 5   questions.                                               5   arrest you on a Wednesday.
 6     MR. TARRIO: Of course he has a lot of                  6      MR. TARRIO: They'll probably arrest me
 7   questions.                                               7   on a Wednesday just to, just to -- just to flex.
 8     MR. DONOHOE: I'm going to go ahead and                 8   Okay. So that's the answer to your first question.
 9   bail out, guys. Thank you for your attention.            9      MR. SWEATS: Now, the only other
10     MR. TARRIO: All right, Yut.                           10   question I have is on the local level, some of these
11     MR. REHL: Dick Sweats.                                11   events wind up catching national attention. So is
12     MR. TARRIO: Sweats, you're up.                        12   this something that when we know we're doing an
13     MR. SWEATS: Hey.                                      13   event, should we just bring it into the, into the
14     MR. TARRIO: Your microphone --                        14   room and discuss it, just, you know, even if it's
15     MR. REHL: Shit, and his fuckin'                       15   local?
16   microphone doesn't work.                                16      MR. TARRIO: Yeah, if it's local, we'll
17     MR. TARRIO: Yeah, your microphone                     17   always contact the local chapter before we do
18   sucks, Dick. He got those, he ordered those bootleg     18   anything. Like let's say we end up doing that, that
19   ear pods from (inaudible).                              19   thing in Montgomery, Alabama, we'll contact the
20     MR. SWEATS: Hi. They were bootleg. I                  20   Alabama chapter, which is almost non-existent at
21   got them from New York.                                 21   this point. I know there's a couple of guys but
22     MR. TARRIO: There you go. What's up?                  22   they haven't grown out yet but we will be contacting
23     MR. SWEATS: I was just curious if we                  23   the local chapter every time that we go somewheres.
24   had any discussion about you in particular with the     24      MR. SWEATS: All right, awesome.

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 1   issue still outstanding about the burning of a           1    MR. TARRIO: Like if we go to your neck
 2   certain flag in a street and you showing up down in      2 of the woods, we'll always like contact you before.
 3   DC, certain persons possibly being --                    3    MR. BERTINO: But I think what Dick was
 4      MR. TARRIO: Yeah, this nigger, this                   4 trying to ask is if there is a --
 5   nigger is like one of those that leads the fuckin'       5    MR. REHL: (Inaudible) and we don't give
 6   (inaudible).                                             6 a fuck what you say, fuck you, fuck you.
 7      [Simultaneous speech.]                                7    MR. BERTINO: Well, I think, I think
 8      MR. TARRIO: So I don't want to go into                8 what Dick was trying to ask was what if there's a
 9   detail here on the video. I think I'll speak, I'll       9 rally like in his backyard that started to gain
10   speak more to that probably on the ground from a        10 national attention. Would we -- and they were
11   security brief. I'd say if the intensity was a          11 planning on attending. Would they then bring that
12   hundred like shit is going to happen and the other      12 to this group or would they just go handle it on
13   intensity would be nothing, absolutely nothing          13 their own?
14   happened, we would probably be at a 50 right now.       14    MR. TARRIO: Um, you know, I don't think
15   So now the intensity, now the intensity of how          15 we've, we've talked about that scenario, but I think
16   serious it is is close to zero.                         16 that would be like a -- it would be a thing where
17      MR. SWEATS: Okay.                                    17 the local guys, if they want, like if they like the
18      MR. STEWART: Turn around and face me.                18 way that we operate, I guess just call us in and
19   What's up, you Dick? Getting back your nut sac.         19 then we'll, we'll pick up from the pool that we
20   That's what's happening.                                20 have. But I just, I don't know how many guys will
21      MR. TARRIO: Hey, Wednesday, Wednesday                21 be able to get there. It all depends on if it's
22   is --                                                   22 gotten national attention and the event is like 30
23      MR. STEWART: Turn around, grab your                  23 days away or two weeks away, where some people could
24   cheeks, give me two good coughs.                        24 come out.


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 1    MR. WOLKIND: Yeah, that's my hope is                 1   don't know if you want to say anything but you're
 2 that, you know, this will be a resource that            2   muted. Did we lose somebody right now?
 3 everybody can draw upon, even for your small local      3      MR. BERTINO: We lost Zach.
 4 rallies, so that way you're not having to, you know,    4      MR. TARRIO: Zach is the one we lost
 5 reinvent the wheel every time. There's kind of a        5   right now. We had lost Yut for a while.
 6 structure and a framework, you know, where you're       6      MR. BERTINO: Zach's got that Philly
 7 going to have, you know, everybody is going to have     7   fuckin' Boost Mobile too apparently.
 8 like familiar comms, you know, how it works, how you    8      MR. STEWART: I got somebody I bet
 9 work with recon, the top down structure. We can         9   everyone wants to talk about. Let's talk about
10 kind of keep the same framework without, you know,     10   women in the chapter.
11 local guys having to, you know, do the whole thing     11      MR. TARRIO: Oh, we just came off of a
12 from scratch over and over again each time. There      12   video chat with that.
13 will be kind of like a standard framework for each     13      MR. BERTINO: Yeah, we just had enough
14 rally. And then you could, you know, possibly use      14   of that AIDS for the night.
15 this group to help, you know, get a few more guys      15      MR. TARRIO: Okay, so there is -- here,
16 there, you know, reach out in the chat.                16   look, this is a very simple thing. There's no women
17    MR. SWEATS: Yeah, that's true.                      17   in the fuckin' chapter. There is no women in any of
18    MR. TARRIO: I want to answer this                   18   your chapters. There never will be women in your
19 question really quick. "The last question for me.      19   chapters. That Proud Girls thing is never going to
20 Are we doing any media shit or are we going totally    20   be a thing. The PBG thing consists of five women in
21 under the radar?"                                      21   a fuckin' chat that don't even say anything about
22    I don't -- like we won't be announcing              22   it. But that's about it.
23 the chapter, Ministry of Self-Defense is going to be   23      I'm going to bring Zach back in and we
24 going anywhere. We're still obviously, we'll go        24   have somebody that usually has a lot to say and it's

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 1 under a Proud Boy capacity. Sometimes we'll go --       1   the New Hampshire prez. Oh, wait. Travis is
 2 it depends on how we dress and what we want to do as    2   unmuted now.
 3 far as a marketing plan goes, but sometimes we'll go    3      MR. BERTINO: What up, Trav?
 4 dead silent, you know. So we'll make those              4      MR. SWEATS: Breaker, breaker, one nine.
 5 decisions as we go. We're totally flexible with         5      MR. BERTINO: Trav, Trav, check, check.
 6 anything that we would like to do.                      6      MR. SWEATS: 10 4 radio, boogie dooggie.
 7    Dick, you got anything else?                         7      MR. TARRIO: I'm going to mute Trav.
 8    MR. SWEATS: No, sir, I'm good.                       8      ASHER: There's something that I want to
 9    MR. TARRIO: All right, cool. I'll keep               9   ask, I'm sorry.
10 you in here, I'll keep you in here. Let me bring       10      MR. TARRIO: Yeah.
11 in, let's bring in Travis. Travis, you got your mic    11      ASHER: Those of us who at least for the
12 muted. Okay, I'll leave him in here. I'll bring in     12   last two events have been tied to some security
13 Asher. Mr. Asher, you're muted.                        13   detail, could we be like partially in the -- this
14    MR. BERTINO: Why is everyone muted?                 14   chapter? In other words, when we're done with that
15    ASHER: Hi, how's it going?                          15   security detail, like can we meet up with, you know,
16    MR. TARRIO: What's up, what's up, Ash?              16   like ten other guys or I guess, six other guys?
17    ASHER: Not too much. I'm just                       17   Like in our security detail, we have four. We're
18 listening, I'm just listening.                         18   tied with Latinos for Trump. But basically everyone
19    MR. TARRIO: Oh, okay, okay, all right.              19   in that detail is in this chapter, so.
20 So you clicked on that link. Nobody is trying to       20      MR. TARRIO: Yeah, I know my, so
21 get in. So we're good, you can stay in.                21   basically what he's saying, so my chapter is doing
22    Travis, I can kind of see you.                      22   security, a security detail specifically for Latinos
23    MR. BERTINO: I see your steering wheel.             23   for Trump. Completely off. When you're done with
24    MR. TARRIO: You're muted, Trav. I                   24   that detail, I think that we're, we're going to be

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 1   around for a little bit, but when you're done with         1   rallies in Portland and a lot of rallies in DC. So
 2   that detail, I guess yes, the answer would be yes.         2   we're just going to pick the four best guys, the
 3   But I guess the logistics portion of it would come         3   four best suited guys at that point and those guys
 4   in, how you get to us or where we are. And if it's,        4   will be on the ground for the operations team and be
 5   if it's like a marching route, then no problem, you        5   managing those ten, those ten-manned crews at that
 6   guys can walk straight to us. But I guess we'll            6   point. You got me?
 7   stay in communication. You'll be in the chat               7       NH PREZ ROB: Gotcha.
 8   channels and I'll include you in that, Ash.                8       MR. TARRIO: So if there's something to
 9       ASHER: Are we going to be using that                   9   go, the message goes from the top to the bottom at
10   Zello thing this time?                                    10   that point.
11       MR. TARRIO: So the Zello thing was just               11       NH PREZ ROB: Okay, makes sense.
12   like really -- I knew not too many people were going      12       MR. TARRIO: Yeah.
13   to be able to use it because of the data. So we're        13       NH PREZ ROB: What are we doing about
14   going to be -- we're going to have it as a backup         14   places to stay for the 6th?
15   but we're always going to go to our radios for            15       MR. TARRIO: I'll go over that on the
16   communication, okay.                                      16   next chat and I think I'll do that right on like the
17       So I'm going to bring in New Hampshire                17   1st, just so we're closer to that event and we'll
18   president, and I'll bring in Travis and make sure         18   talk about places. Well, actually we could talk
19   that he is not muted.                                     19   about places to stay right now. The thing is DC is
20       NH PREZ ROB: What's up, gentlemen?                    20   jam packed. If you can find a fuckin' hotel, we're
21       MR. TARRIO: What's up?                                21   going to be -- most of us are going to be staying on
22       NH PREZ ROB: Jeremy, what's up,                       22   the Supreme Court side. I know some people were
23   brother?                                                  23   staying by the, by the White House. But right now,
24       MR. BERTINO: What's happening, bro?                   24   it's get what you could, right now.

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 1      NH PREZ ROB: Good to see you, man.                      1      NH PREZ ROB: I had some chick on Parler
 2      MR. BERTINO: Thank you, man. Good to                    2   fuckin' wanting me to split a room with her at the
 3   see you again, and not your nuts.                          3   fuckin' Phoenix.
 4      NH PREZ ROB: Hey, they're not my nuts.                  4      [Simultaneous speech.]
 5   My vice president's nuts, not mine. Fuck that.             5      MR. TARRIO: If you can find, if you can
 6      MR. BERTINO: They were pretty anyway.                   6   find a room at the Parler -- at the Phoenix, it's
 7      NH PREZ ROB: Yeah, and I was fuckin'                    7   impossible to get right now.
 8   pinching it off like a motherfucker.                       8      NH PREZ ROB: She already got one.
 9      MR. BERTINO: Oh, man.                                   9      MR. TARRIO: Oh, if she, if she has one,
10      NH PREZ ROB: So I got, I got a question                10   then you're good.
11   about the -- at the beginning of this, you were           11      NH PREZ ROB: So are there places we
12   saying that you're breaking it up into zones.             12   should -- if I don't really want to stay with this
13   There's eight zones, right? Is that what you said?        13   chick, because that's not what I'm about, but what
14      MR. TARRIO: Well, no, there's eight                    14   -- are there places to stay away from at this point?
15   people, there's eight regional reps, and it goes          15   Is it that fuckin' border, somebody was sharing on
16   from -- we're doing the Mississippi line, west or         16   fuckin' Parler?
17   east of the Mississippi.                                  17      MR. TARRIO: The neighborhoods right
18      NH PREZ ROB: And each one of those guys                18   outside DC are fuckin' garbage, so if anything --
19   is going to be responsible for recruiting in that --      19      MR. STEWART: You don't want to go to
20   in their area? So like there will be somebody for         20   the east side. You'll get fuckin' stabbed to death.
21   New England or?                                           21      MR. BERTINO: You don't want to go
22      MR. TARRIO: No. So the way that it                     22   downtown either. You'll get stabbed to death. So I
23   works is it's, we're not, we're not -- the reason         23   guess we're all fucked.
24   why we separated it is because we have a lot of           24      MR. STEWART: The big thing about it is,

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 1 guys, like the last two times we were in DC, they         1   It's something that we're looking to do. On this,
 2 shut down the entrance to the entire fuckin' center       2   on this event, just stay tuned for what you should
 3 of the city. So if your hotel was outside of              3   be wearing but I think it's just going to be, we'll
 4 downtown DC, you weren't going anywhere. We had to        4   put it in the chat once we have that conversation.
 5 drive -- I don't even, I don't even know what             5       MR. BERTINO: All right. The last
 6 fuckin' shit ass neighborhood I was in to try to get      6   question: "Are we doing any media shit or are we
 7 out of DC. We went through some fucked up tunnel          7   going totally under the radar?" Okay, that's more
 8 with homeless people all through it. I don't even         8   of a DC question.
 9 know. But that's the big thing. If you can try to         9       MR. TARRIO: I think, I think I
10 get in the city proper, try to get there. But one        10   addressed that question. For the most part, it will
11 of the hotels you'll probably be at is the one on        11   depend, it will vary from event to event. This one
12 Lafayette, with the big Black Lives Matter Plaza         12   we're going a little loud but we did put out some
13 thing. I don't recommend it but it's up to you.          13   disinformation, well, kind of disinformation to kind
14    MR. REHL: Yeah, and Johnny, like I was                14   of throw them off a little bit.
15 actually telling a few other guys, because like a        15       MR. BERTINO: But is it really
16 lot of people were saying, you know, the same thing.     16   disinformation?
17 They're going to shut off major highways and stuff.      17       MR. TARRIO: Probably.
18 Yeah, they probably will. They might try to do           18       MR. REHL: It's always disinformation
19 that. But if you don't mind driving through the          19   when it comes from us.
20 hood or, you know, doing this or that and spending       20       MR. TARRIO: We'll find out.
21 an extra hour driving to the designation when it's       21       MR. BERTINO: And no, definitely no
22 only going to take you ten minutes if you took the       22   six-man, weapons and equipment for the event.
23 highway, then yeah, yeah. Like go wherever you want      23       MR. TARRIO: Yeah, it's ten man, weapons
24 but be honest with yourself. Like it's going to be       24   and equipment.

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 1   a fuckin' pain in the ass, so try to get something      1      MR. BERTINO: Jesus Christ.
 2   as close as possible. That is all.                      2      MR. REHL: Wait, wait, is that -- is
 3       MR. BERTINO: So somebody just asked:                3   that what that means?
 4   "Just so we're clear, everything we do in here is to    4      MR. TARRIO: Yes.
 5   be completely secret, correct, not even to use          5      MR. BERTINO: Six men, weapons and
 6   chaptermates should we talk about what we are doing     6   equipment can change the outcome of a battle.
 7   in here, right?"                                        7   Jesus.
 8       MR. TARRIO: Yes, even your own                      8      MR. SWEATS: Are we serious? I've been
 9   chaptermates, this is its own chapter. Like I           9   retarded for like two weeks now and I wasn't even
10   wouldn't want you to tell me something that happens    10   needed to be retarded. Can you guys please update
11   in your chapter, so I wouldn't -- we're not going to   11   me when I'm not retarded anymore? What the fuck,
12   allow for you guys to talk about what happens in       12   guys.
13   here with your chapter guys. Obviously there is --     13      MR. BERTINO: But you're always
14   obviously, there is chatter about this and what we     14   retarded, Dick.
15   do here, but keep it at that level. Keep it, keep      15      MR. REHL: Shit, stop taking fuckin'
16   it, hey, it's none of your business, so yeah, okay.    16   acid, dude.
17   Next.                                                  17      MR. BERTINO: Yeah, exactly.
18       MR. BERTINO: Ahh, let's see here.                  18      MR. SWEATS: Don't talk so loud. My
19   Trying to get some, "What about helmets, plates and    19   daughter is right over here. What the hell, bro.
20   plate carriers?"                                       20      [Simultaneous speech].
21       MR. TARRIO: We'll talk, we'll talk                 21      MR. SWEATS: Daddy doesn't do that, no.
22   equipment. So one of the plans is to get you guys a    22      [Simultaneous speech.]
23   list of equipment that you would practically need to   23      MR. TARRIO: Brian is asking, Brian is
24   get and then a list of equipment that we recommend.    24   asking if we could put that list together as soon as

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 1   possible. I think we should talk about that             1   didn't have anything else so I gave them --
 2   tomorrow and get a comprehensive list together and      2      MR. TARRIO: Wait, hold on. Someone
 3   just put it together and send it out.                   3   charged you $50 for a fuckin' plastic plate?
 4       MR. STEWART: Yeah, but seriously by                 4      MR. SWEATS: Yeah, it was a southern
 5   now, by now you're not going to get it before the       5   guy. Southern guy, right?
 6   6th. If you have to order it on Amazon, there is        6      [Simultaneous speech.]
 7   little to no fuckin' chance you're going to get it.     7      MR. TARRIO: That sounds like some
 8       MR. BERTINO: You might get an IFAK, but             8   Florida dude. That sounds like somebody in my
 9   that's about it.                                        9   chapter.
10       MR. TARRIO: Yeah, I mean, your basic               10      MR. SWEATS: Yeah, the Florida guy.
11   stuff, I'll tell you right now. Your basic stuff,      11      MR. REHL: I don't, I don't snitch.
12   like a fuckin' plate carrier or if you can put, if     12   That's all.
13   you get like soft armor that you can put under your    13      MR. BERTINO: Well, listen, even if you
14   shirt, would be great. No colors. Do not even --       14   can't, man, get some fuckin', pull like a fuckin'
15   gentlemen, do not even pack anything that's black      15   omar from the wire and fuckin' duct tape goddamn
16   and yellow. Do not under any circumstances do that.    16   phone books around your fuckin' -- around yourself.
17       MR. REHL: I would like to add --                   17   Trust me, you don't want to get stabbed. If you've
18       [Simultaneous speech.]                             18   never been stabbed, you don't want to get stabbed.
19       MR. REHL: Anybody who is in the chat               19   So whatever the fuck you can do to prevent that, do
20   and everything, like if anybody has any -- a link to   20   it. I don't give a shit if it costs fuckin' 13
21   like proper equipment that would be actually           21   cents or 1300. Do whatever you got to do to protect
22   effective, maybe a stab-proof vest or something and    22   your fuckin' body.
23   it's not overly expensive, like. Not all of us are     23      NH PREZ ROB: I've been stabbed three
24   rich. So you know, we're not, basically if you can     24   times in my life, man. I don't ever want to fuckin'

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 1 find maybe something that is not $800 that would          1 have it done again, that's for damn sure.
 2 prevent, you know, being stabbed.                         2    MR. BERTINO: Yeah.
 3    MR. BERTINO: There's like $300 vests.                  3    MR. REHL: Take these guys' word for it,
 4    MR. REHL: That would be a lot more,                    4 though. For real.
 5 more effective and more, you know, proper to, you         5    MR. BERTINO: You don't want to get
 6 know, help this chapter than, you know, talking           6 stabbed, man.
 7 about probably girls or something like that. You          7    MR. STEWART: If you could just keep
 8 know what I mean, like.                                   8 women away from you too, Jeremy, maybe --
 9    NH PREZ ROB: What we did in New                        9    MR. BERTINO: Dude, I'm telling you,
10 Hampshire on the cheap was we went to fuckin' Ocean      10 man.
11 State Job Lot. I don't know where you guys are, if       11    SPEAKER: That fuckin' bitch, dude.
12 you have those, or fuckin' Dollar Tree or whatever,      12    [Simultaneous speech.]
13 whatever, whatever it is in your area. Up here we        13    MR. BERTINO: Hey, but listen, there's
14 have Ocean State Job Lot. And we went and bought         14 actually somebody brought up a good question earlier
15 fuckin' plastic cutting boards and cut them to the       15 and I meant to, I meant to touch on it. It's
16 size of your plates and put them in the plate            16 something about: No MAGA ho's and -- here, it is,
17 carriers. And they were like $3.                         17 okay. One last question, for real. "Specifically
18    MR. SWEATS: You can cover them too,                   18 for the 6th, no MAGA whores or cameras following us,
19 make them more comfortable.                              19 right? "
20    SPEAKER: Yeah.                                        20    Now, you know there's going to be a
21    MR. REHL: Yeah, one of you southern                   21 camera following Enrique because, you know, he's a
22 guys got me for like 50 bucks for some plastic plate     22 faggot, you know, that lost his clout. But MAGA
23 carriers, said they're made out of like fucking          23 ho's, MAGA ho's need to get the fuck out, for real.
24 cutting boards but, you know, like I didn't have, I      24    MR. TARRIO: Yeah, so this operation

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 1   that we're going to run, we're going to do it           1 at the locations, obviously it's uncontrollable at
 2   independently of any other chapters that are around.    2 that point. But if we're marching, yes, try to keep
 3   We're going, we're going to work on these at night      3 the people that are following us the fuck away from
 4   and in -- and throughout the whole day on the 6th.      4 us, right? We don't want anybody following us, at
 5   We're going to operate by ourselves. No other Proud     5 all, ever.
 6   Boys, no women, no chitlins, none of that shit.         6    MR. BERTINO: And definitely not
 7   It's just going to be us, period.                       7 breaking our ranks. That's the other thing. You
 8       NH PREZ ROB: So since you, since you're             8 know, like I tried my best to do that last time,
 9   recognizable, since Jeremy is recognizable, since       9 like I don't let anybody in here. But these
10   Biggs is recognizable, if we are somewhere and         10 motherfucker -- well, see the other problem is when
11   other, other brothers see us that aren't part of       11 I said earlier we have to learn how to stay in
12   this chapter and they want to come with us, we tell    12 formation and learn how to fuckin' march, you got
13   them no?                                               13 guys that like fuckin' lag behind and then, you
14       MR. TARRIO: Tell them no. As hard as               14 know, slow down, speed up, slow down. It's like,
15   it is to do, and I know I cringe having to say that,   15 you know, left, right, left, right. Right? It's
16   but we have to, we have to, we have to learn how to    16 fuckin' easy walking, guys.
17   do that. We got to be able to fuckin' be like, hey,    17    And if we can keep ourselves tight, nut
18   look, right now, don't follow us around, blah, blah,   18 to butt, elbow to asshole, we won't let any fuckin'
19   blah, we're going somewhere. And just keep it, keep    19 body into our formation. And that is key. Because
20   it frosty like that.                                   20 we don't know who the fuck these people are that are
21       MR. STEWART: And that has to extend to             21 just automatically walking into our formation. Now
22   normies and women. Basically what I'm telling you      22 we got to be aware, is Antifa going to try to
23   is stop the fuckin' formation and very politely and    23 fuckin' walk into our formation and knife us in the
24   professionally go up to them and say, listen --        24 back when we're fuckin' walking? You know, one dude


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 1      MR. WOLKIND: Get the fuck out.                       1   had enough balls to come upon fuckin' 500 of us and
 2      MR. STEWART: You can't walk in here                  2   start swinging a knife, trying to gut us like
 3   right now. You got to step out to the side, we          3   fuckin' fish. So you can imagine what they're going
 4   can't have you in the middle. And then keep right       4   to try to do if they can sneak their way into our
 5   on going. And don't fuckin' move the column until       5   fuckin' formation. So --
 6   they're gone, right? I mean we have, it's               6      MR. TARRIO: I don't think "try" is an
 7   ridiculous the amount of fuckin' people that just       7   accurate word.
 8   move in and then we're -- the last time in DC, we       8      MR. BERTINO: What?
 9   form a front line and all of a sudden, I got eight      9      MR. TARRIO: I don't think try is an
10   tiny little fuckin' girls running basically between    10   accurate word.
11   my fuckin' legs because they want to go up and be on   11      MR. REHL: Accountability,
12   the camera with Enrique.                               12   accountability of actually who is like, like
13      NH PREZ ROB: Make a hole, make a hole,              13   actually with you and your chapter and everything,
14   this fuckin' cunt says to me.                          14   is like one of the, probably like the biggest
15      MR. STEWART: Oh, yeah, make a hole.                 15   things. The other thing is the comms. Like if you
16   Isn't that fuckin' -- I'm about to make a hole and     16   have, if you have the proper comms, then you don't
17   put you in it.                                         17   have to worry about that in a sense, as far as like
18      NH PREZ ROB: Fuckin' stupid little                  18   where we're going to be and where we're going to be
19   whore.                                                 19   going. You know, and I agree with what you just
20      MR. TARRIO: So, so also this group is               20   said, Jeremy, 100 percent.
21   in charge of controlling me, too. There's a reason     21      MR. BERTINO: Yeah.
22   why we went with this structure. I get stopped, and    22      MR. TARRIO: You know what I notice
23   I'm sure Jeremy will get stopped now, quite a bit      23   about this group? We're following the rules to a T
24   now too. But I get stopped quite a bit. If we're       24   right now. We're conducting an operation and

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 1 there's absolutely nobody drinking.                         1   Danny Mack right now.
 2    NH PREZ ROB: I'm not a big drinker                       2      MR. REHL: We made, we made a meme of
 3 anyway.                                                     3   him, like rubbing his hands together with a freak
 4    MR. BERTINO: I'm drinking Coke Zero.                     4   nose and the Jewish hat on.
 5    NH PREZ ROB: And I'm not home, so I                      5      MR. WOLKIND: I'll give you 20 bucks if
 6 don't drink and drive.                                      6   you show it right now.
 7    MR. TARRIO: I like how serious you guys                  7      MR. TARRIO: Hold on, take a look at the
 8 are. And just to quote, just to quote one of the            8   screen really quick. Hold on. Let's put this guy
 9 regionals, he says: "We just tell them that MoSD            9   over here.
10 does what -- does MoSD stuff." And that's a direct         10      MR. BERTINO: Oh, Jesus.
11 quote from Danny Mack, who told me that New Jersey         11      MR. TARRIO: Let's keep him on the
12 does New Jersey stuff.                                     12   opposite side of the screen.
13    MR. BERTINO: Can we just call it the                    13      MR. SWEATS: What's that?
14 MoSOD? Can we just call it the MoSOD?                      14      MR. TARRIO: Who's got their fuckin' TV
15    MR. TARRIO: So oh, so by the way, our                   15   on?
16 branding, just so you guys know, I got this really         16      MR. BERTINO: I was playing the Twisted
17 cool six-point star that we're going to be wearing         17   Tea video. I was playing the Twisted Tea video.
18 on your chest and our official colors are going to         18   That should be our new official drink by the way, is
19 be white and blue.                                         19   Twisted Tea.
20    [Simultaneous speech.]                                  20      NH PREZ ROB: Oh, God.
21    SPEAKER: Oh, let's fucking quit.                        21      MR. SWEATS: That guy smashed another
22    [Simultaneous speech].                                  22   guy in the face with it. That was classic.
23    MR. BERTINO: The gay Jew, gay Jewish                    23      MR. TARRIO: Okay, so okay, let's stay
24 Congress, is that what it is? The gay Jewish               24   on topic here. Next. Questions, anything?

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 1   Congress?                                                 1    NH PREZ ROB: Yeah, what do we do,
 2      MR. TARRIO: They finally took over.                    2 Jeremy? Remember when we met you guys in Phoenix
 3   Hey, listen, unrelated to this group, we've never,        3 and there was that black chick in there with the,
 4   we've never elected a small hat to the elder's            4 with the braids.
 5   council. Just throwing it out there.                      5    MR. BERTINO: Yeah, we talked about that
 6      MR. BERTINO: I've got a nose like one.                 6 earlier.
 7      MR. REHL: Enrique, just asking you.                    7    NH PREZ ROB: Well, no, what -- what do
 8      MR. TARRIO: Huh?                                       8 we do if they do like she did? Like no, I'm not
 9      MR. REHL: What's a small hat?                          9 leaving, no, I'm not leaving. What happens if we
10      MR. TARRIO: No, just people that enjoy                10 get people like that that when we say, hey, listen,
11   tiny hats, you know, like smaller.                       11 this is Proud Boys shit, get the fuck out. And
12      SPEAKER: Spinnerettes?                                12 they're like, ahh, no.
13      SPEAKER: Are you sure?                                13    MR. BERTINO: We fuckin' remove them.
14      MR. TARRIO: Smaller than hats that Dick               14    MR. TARRIO: Oh, yeah, but always,
15   Sweats wears right there, smaller.                       15 always keep a professional posture on them.
16      [Simultaneous speech.]                                16    MR. BERTINO: Yeah.
17      SPEAKER: Aaron, where did he go?                      17    MR. TARRIO: You know, at that point,
18      SPEAKER: To be able to see what's on                  18 you know, de-escalate, de-escalate, de-escalate,
19   so. [Simultaneous speech.]                               19 start marching. And then, you know, start --
20      MR. BERTINO: Hey, Aaron.                              20    MR. SWEATS: Block them out.
21      MR. STEWART: I just want to cut in real               21    MR. TARRIO: Escalating until you can't
22   quick. Aaron, how do you feel about the tiny hat         22 escalate anymore and then you -- we can't do
23   comment, asking for a friend?                            23 anything about it sometimes.
24      MR. BERTINO: I'm just going to tell                   24    MR. BERTINO: Well, you know, you saw

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 1   what I did to her when she started fuckin' acting        1 going to lose control. So we need you on the
 2   up. Twice I had to check that bitch. And I shut          2 outside of our formation. If they don't listen,
 3   her the fuck up. And I said, look, this is fuckin'       3 they don't get, they continue to be fuckin' whining,
 4   man's business, you shut the fuck up. And I got          4 then move up on them and, and kind of try to force
 5   Louie, who is, of course, that's Louie's girlfriend      5 them out by pushing your way, you know, pushing them
 6   that had to have the fucking issue. And I, and I         6 out per se. That's how I would do it.
 7   pulled him and I said, you better fuckin' handle         7    MR. REHL: Yeah, it's the same thing
 8   this shit or she's going to end up getting you           8 with any normie, to be honest with you, man. Like
 9   fucked up. And he was like, oh, okay, I'll handle        9 some of these normies are such a liability and
10   it. And she shut the fuck up for a little while and     10 everything that like just the fact that they're
11   she was in the back.                                    11 walking with us puts us in harm and them in harm as
12       But of course, then she got ultra drunk             12 well, you know what I mean.
13   and started running up to the cops. Finally you         13    MR. BERTINO: Mm-hmm.
14   know what I did? I just said you know what? Fuck        14    NH PREZ ROB: Yeah. When we, when we go
15   it, go get arrested. Go ahead, go fight the cops,       15 out to fuckin' BLM Plaza with Biggs and Rufio, one
16   go get arrested, I don't give a fuck. You know, but     16 of the things they told the rest, the rest of us was
17   unfortunately the bitch was out there in a yellow       17 to be quiet. We had a bunch of normies with us
18   and black fuckin' plaid, fuckin' flannel,               18 going, screaming on the top of their lungs going:
19   representing us, of course.                             19 Fuck Antifa and babies' lives matter. And the
20       But yeah, you're going to get those,                20 fuckin' normies, just every time we told them to
21   you're going to get those fuckin', those -- like the    21 shut the fuck up, they wouldn't shut the fuck up.
22   same bitch that got me stabbed, you know what I         22 They were fuckin' screaming and yelling. So much
23   mean. You're going to get those fuckin' -- that's       23 for trying to be fuckin' tactical and fuckin', you
24   why I put that post out on Parler, hoping that these    24 know, try to do something on the fuckin' down low.


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 1   bitches will get a clue that, look, you're not           1 But goddamn, dude.
 2   welcome with your drama and your bullshit on the         2    MR. BERTINO: Yeah, unfortunately
 3   front lines. Keep that shit out, keep that shit          3 there's no way with the notoriety that we have that
 4   over in the corner. Go fuckin' bitch in a room with      4 people are not going to start fuckin' following us.
 5   the rest of your bitchy girlfriends. I don't give a      5 You know, they're going to follow us now because,
 6   fuck what you do.                                        6 you know, we're the tip of the spear. So they're
 7      NH PREZ ROB: Yeah.                                    7 going to follow us.
 8      MR. BERTINO: You're not welcome in our                8    MR. TARRIO: When it gets out of
 9   formation. And literally, we will just have to keep      9 control, there's some situations when it gets out of
10   a tight enough formation where they can't get in,       10 control and we can't stop them and it just looks bad
11   you know. I mean, so I think that's --                  11 that we'll, we're going to stop a big crew from
12      NH PREZ ROB: Let them know that they're              12 coming, you know, at that point, you know, some type
13   here for fuckin' three things, get us some food,        13 of formation, move to where we got to move and just
14   patch us up and suck our dicks. That's it.              14 chill. But we'll do that as we go.
15      MR. BERTINO: Sandwiches, medical                     15    MR. REHL: I mean it's like a Catch-22
16   supplies and blow jobs. That's their only fuckin'       16 to reject them completely because like they support
17   job. You got one -- you got three jobs, three jobs.     17 the shit about, the shit out of us. They've helped
18      But yeah, that's the way I would say                 18 us out a lot on various different ways and
19   handle it, man, is like try to be nice at first.        19 everything but --
20   Like look, this is, you know, we need to keep a         20    MR. TARRIO: They got (inaudible)
21   security perimeter. We need to keep a secure            21 $40,000.
22   perimeter. We can't have any outsiders in here. If      22    MR. REHL: Yeah, yeah, exactly, exactly.
23   they're in here, you know, if you start to move in      23 That's one of the things I mean. But look, we got
24   here, other people are going to move in and we're       24 to do it in a professional way to where, you know,


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 1 they're not pissed off to the point to where, you       1   people again, but.
 2 know, they're going to continue to, you know, turn      2      MR. BERTINO: Well, you know what, and
 3 on us again, you know what I mean? You know, they       3   they can do that, but just do that in the fuckin'
 4 support us now. Let's accept their support but do       4   back, you know what I mean.
 5 it in a professional way and reject them in a           5      MR. SWEATS: Right, exactly.
 6 professional way. We need to, if that makes sense.      6      MR. BERTINO: Do that behind us. Don't
 7     MR. BERTINO: Well, yeah, it's kind of               7   do that in the middle of us.
 8 like the U.S. military. I mean how many fuckin'         8      MR. SWEATS: Yeah.
 9 people would love to go march when the fuckin' Army     9      NH PREZ ROB: As far as, as far as this
10 comes, you know, marching through somewhere, right?    10   chapter goes, are we, are we going to be there for
11 But they can't, right? They respect the fact that      11   the 6th and the 7th or just the 6th, and then we're
12 they can't do that.                                    12   getting out?
13     Well, we have to give them that same               13      MR. TARRIO: So there's some things that
14 sort of -- they have to show us the same kind of       14   we can't control. I always say that you guys should
15 respect that they would show the military. When        15   roam together. But like myself, I'm going to be
16 we're fuckin' marching in our formation and we're      16   there for about six days because I have, I have
17 doing our thing, they need to show us the same type    17   other things that I got to do there but I usually
18 of respect that they would show the U.S. military      18   just lay low when I'm -- when I'm by myself. I stay
19 when -- I'm not saying that we're the military but     19   in the hotel, took an Uber and leave. But I suggest
20 you know what I'm saying.                              20   that you guys congregate in smaller groups and then
21     MR. REHL: Amen to that.                            21   when we have that itinerary out, follow it to the T.
22     MR. BERTINO: Yeah, yeah.                           22      MR. BERTINO: He's there for a vagina.
23     MR. STEWART: Maybe, maybe we get, maybe            23      MR. SWEATS: What Proud Girl are you
24 could get your social media whores to start posting    24   hooking up with?

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 1 some shit out there on your Parler page, hitting --     1       MR. STEWART: It's not a Proud Girl.
 2    MR. BERTINO: Yeah, I did that.                       2   It's, it's a dude named Steve, he's on the inside.
 3    [Simultaneous speech.]                               3   Those bars are going to go clank.
 4    MR. BERTINO: And then all of a sudden I              4       MR. TARRIO: Steve loves me.
 5 had fuckin', every fuckin' MAGA thought that thought    5       MR. BERTINO: Want to be into the black
 6 she was tough, fuckin' complaining, you're going to     6   Cuban.
 7 lose supporters, you know.                              7       MR. TARRIO: Would love me.
 8    MR. STEWART: Well, QueQue can do it and              8       [Simultaneous speech.]
 9 they won't do anything because they'll be afraid        9       MR. TARRIO: Little boys.
10 he'll hack them to death.                              10       MR. BERTINO: All right. So: "What time
11    MR. TARRIO: With my Dick.                           11   is the whole political presidential situation
12    MR. SWEATS: (Inaudible) to get these                12   happening that day with Pence?" That, I don't know.
13 guys to go back inside. They've been stuck inside      13   I guess we're just going to have to -- I mean a lot
14 for months, terrified of all these fuckin'             14   of the questions are coming in about DC.
15 terrorists running around destroying their cities.     15       MR. TARRIO: Yeah.
16 So when they had the opportunity to see these guys     16       MR. BERTINO: We still haven't
17 are bravely walking the streets of DC at nighttime,    17   formulated a plan for DC yet because we've been
18 that's why they want to follow, because they know      18   trying to formulate --
19 when we leave, they're not doing that shit the next    19       MR. TARRIO: I mean we somewhat know.
20 night.                                                 20   We just, we just, there's, there's a lot of detailed
21    MR. BERTINO: Fuck no, they're not.                  21   information I guess we got to go over. But yes, we
22    MR. SWEATS: Right. So I get where                   22   will have a plan for DC. We will have one of these
23 they're coming from I guess because they feel like,    23   with some time. I know it's very close right now.
24 oh, wow, we have a moment we can actually be normal    24   I'd say we'll put, we'll start putting out some

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 1   information tomorrow but like we'll have another          1   those, those teams.
 2   like little video session right here with, with more      2      MR. STEWART: The teams are still going
 3   information, and a separate chat that's specifically      3   to be co-located, right? Everybody -- I mean we're
 4   going to be for events. Once that event ends, I'm         4   not going to have one of you, one group of ten guys
 5   going to remove everybody and they're -- you guys         5   eight fuckin' blocks to the east of the rest.
 6   are just going to stick to that main chat.                6      NH PREZ ROB: Right.
 7      MR. BERTINO: Well, yeah, other than                    7      MR. STEWART: So the whole structure of
 8   that, anybody else got any questions about how the        8   having these smaller groups of ten is it's easier to
 9   chapter is going to operate?                              9   herd ten cats than a hundred. And that's it. It's
10      MR. TARRIO: Yeah, let's give them five                10   easier to keep everyone together that way.
11   minutes in here. We're already at a minute -- an         11      MR. TARRIO: All right.
12   hour and a quarter. Let's keep skirting some             12      MR. REHL: How did it work herding like
13   questions here.                                          13   80 cats for you, Johnny?
14      MR. BERTINO: Well, we've got the JQ                   14      MR. STEWART: Oh, my God, I was fine
15   popping up, so I don't know if we want to address        15   with up to like 30 to 50. But once I got more than
16   that or not.                                             16   30 to 50 guys behind me, there was a never-ending
17      MR. TARRIO: What?                                     17   fuckin' cycle of running in a circle, trying to make
18      MR. BERTINO: The JQ is popping up. I                  18   sure they were all moving in the right direction.
19   don't know if we want to address that now.               19      MR. TARRIO: Yeah.
20      MR. TARRIO: I can't remove Aaron right                20      MR. REHL: It's simple. And that's the
21   now. It's too early in the game.                         21   thing. We're trying to like minimize that problem.
22      MR. WOLKIIND: No, I think I'm good.                   22   We're trying to minimize and then like that's what
23      MR. TARRIO: We've got to wait a couple                23   the whole point is of this entire, this entire
24   months with Aaron.                                       24   operation is all about. And everybody that's in

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 1       MR. SWEATS: These guys say they got a                 1   this operation, I hope you guys recognize and
 2   place in Chinatown. That place is close possibly.         2   understand like how important it is moving forward,
 3       MR. TARRIO: Yeah, Chinatown is really                 3   doing national events and everything like that, so.
 4   close to the Supreme Court, so that's a good spot         4   It's a tough job and it's also something that's
 5   that you could look for.                                  5   really important that actually needs to be addressed
 6       MR. SWEATS: Travis does. He says he                   6   and worked on, for real, seriously.
 7   has one already.                                          7       MR. TARRIO: Yeah, I'm sure that there's
 8       MR. TARRIO: Oh, okay, all right. Keep                 8   going to be -- and I want to be as transparent with
 9   skirting, keep looking through those. I'll give it,       9   you guys as possible. I'm sure there's going to be
10   I'll give it like five minutes.                          10   like bumps in the road that we got to fix, but the
11       MR. BERTINO: "Are we expecting to be                 11   most important part is, is that we, we work together
12   paired with our original selectors?" Um, probably        12   on those things and not fight each other over
13   not.                                                     13   stupidities, right. There's going to be times where
14       MR. TARRIO: I don't think so.                        14   you, you'll probably get like two lines of
15       MR. BERTINO: It shouldn't -- I don't                 15   communication on -- at a very microscopic level. If
16   think it will be that way. It will probably be just      16   you get two lines of communication to do two
17   randomly choose, hey, these are my ten guys, these       17   different things, before you do anything, clear that
18   are your ten guys.                                       18   up. But again, we're working together. This is the
19       MR. TARRIO: Yeah, it will be -- I think              19   first time that we're going to operate. I'm not
20   there will be, yes, it will be randomly chosen. But      20   going to tell you it's going to work perfectly as
21   like if you got like a little crew that you roll         21   planned but we're going to get as close to perfect
22   with, just keep that same crew together. You know,       22   as we could this first time around.
23   but we'll be breaking that up. We'll see how many        23       MR. BERTINO: Yeah, somebody just said:
24   people we have and we'll see how we, we break down       24   "Watching me trying to keep everyone together was

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 1   infuriating." Yeah, imagine being the guy trying to      1      MR. REHL: Not only to, not only to --
 2   fuckin' do it. Dude, it was, it was the most             2      MR. WOLKIND: We don't want to do what
 3   ridiculous fuckin' thing I've ever seen in my life.      3   Antifa did.
 4   Like how do, how do you get a bunch of grown men         4      MR. REHL: Right, and I'd want to remove
 5   there that all have the same ideas and the same          5   that completely.
 6   fuckin' goals, like how do you, how do you just not      6      [Simultaneous speech.]
 7   listen when you're like, oh, I see somebody I think      7      MR. TARRIO: Yeah, so I almost, just to
 8   is Antifa, I'm going to take 30 guys and run off and     8   tell you a story. I almost lost my cool because it
 9   do it. Like it's fucking frustrating, man.               9   was after Jeremy got stabbed and a whole bunch of
10      MR. REHL: Oh, you know what? Actually,               10   shit was going down, and there was some
11   that's actually like something I actually want to       11   misinformation that was posted on the Proud Boys
12   address, address. A lot, a lot of guys, I don't         12   uncensored channel that said that there's an Antifa
13   know if it's new guys or just guys that are just        13   infiltrator and this is his picture. So we, we
14   aggressive or whatnot, but a lot of people, they see    14   looked for the guy.
15   somebody taking pictures or recording people.           15      And I told the people that were looking
16   Enrique, Enrique made this post about like, hey,        16   for that guy, I said, if you find him, you come get
17   like people are going to take your picture, they're     17   me first and I'm going to fuckin' knock him clean
18   going to, they're going to record, you know. Just       18   out, not ask any questions. And thank God, when I
19   smile for the camera and everything.                    19   was running over there, I'm like, man, this guy
20      But there was a situation where I                    20   looks a little familiar. And I stopped, I grabbed
21   actually, I'm not going to say who or where. I'm        21   his fuckin' camera, right, and I'm like, what are
22   not throwing anybody under the bus, but they got,       22   you doing? He's like, ahh, I'm just hanging out,
23   they were getting recorded and the -- the reporter      23   bro; I -- I interviewed you today. And then I
24   got his cellphone taken from them, from one of our      24   remembered, he was a conservative dude. So

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 1   -- one of the people we're associated with, I'm not      1 sometimes we got, I have to chill sometimes too.
 2   going to say who. But the guy ended up turning out       2    So, but in some cases, there are some
 3   to be a regular normie ass fuckin' reporter who was      3 exceptions, I guess to that rule, yes. But most of
 4   just reporting on stupid shit. You know what I           4 the cases, we don't know who the fuck these people
 5   mean. Like we don't, we don't want, we don't want        5 are. If they're going to write a hit piece, they're
 6   to have like that kind of notoriety where we just        6 going to write a hit piece. If they're going to dox
 7   attack every single reporter.                            7 you, they're going to fuckin' dox you. If you're
 8      You know, I mean if, if it's an Antifa                8 out there without a mask, it's your fault, okay.
 9   reporter, I mean like if it's AntiFash Gordon, for       9    MR. REHL: Yeah, like exactly. Like
10   example, just as a random ass example.                  10 yeah, Enrique, like obviously, like if you're really
11      MR. TARRIO: I'll catch a case.                       11 worried about your picture being taken, just wear a
12      MR. REHL: Right, you steal that fuckin'              12 fuckin' mask. That's all. Like that's my best
13   guy's fuckin' phone, fine.                              13 advice for you, for anybody in this entire video
14      Shut the fuck up (aside). Sorry, I got               14 chat. Just, if you're really worried about your
15   one of my guys in my room.                              15 picture being taken, wear a mask, and you know what
16      [Simultaneous speech.]                               16 I mean? You really can't assume that everybody is
17      MR. REHL: But like if you've got                     17 Antifa because everybody is not always Antifa. And
18   AntiFash Gordon's fuckin' cellphone, you grabbed it     18 when you steal something from somebody, you might be
19   but fine. But -- that's perfectly fine. But like        19 stealing from your own team and like, that's
20   if you went running up to some random ass, random       20 embarrassing and that makes us look bad.
21   ass dude who is, you know, just recording shit and      21    MR. TARRIO: Yeah.
22   he turns out to be a, you know, a conservative          22    NH PREZ ROB: So let me get all, let me
23   reporter, then like we look like assholes.              23 get all fuckin' warrior poet for a minute. One of
24      MR. BERTINO: Yeah.                                   24 the biggest things that we have to try to make our


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 1   guys understand is you have to remove self. I saw        1 utilize our advantages and how we can make these
 2   so much selfishness down in DC, that guys were           2 rallies work together as a solid unit in the future.
 3   saying, oh, I want to do this because I want blood       3    But at the same time, if we're, if we're
 4   or I want, I, I, I. There was not enough: What           4 fighting and arguing with each other and nobody
 5   about the brotherhood? Guys got to learn that, you       5 agrees on anything, then none of this is going to
 6   know, you got to put the brotherhood first. You got      6 work. And like that's one of the biggest things
 7   to put our ideals, you got to put our image, you got     7 that I want to like, like stress to everybody that,
 8   to put everything about us first.                        8 you know, the fit in or fuck off. I mean it's kind
 9      You got to think, well, if I do this                  9 of like a light-hearted joke but it's also like a
10   because I want to do it, what's the -- what's the       10 serious thing at the same time. It means a lot.
11   reflection or what's the repercussion on the frat?      11    Like you guys, you guys, you know,
12   And there's too many guys that are just, that were      12 you've worked with a lot of, a lot of these people
13   just selfish cock suckers out there. You have to        13 and talked to a lot of these people and know some of
14   fuckin' transcend your own wants and needs to put       14 these people already. But, you know, if you're
15   the clubs first. And if you can't do that, then you     15 going to sit here and just be an asshole and cause
16   shouldn't just be here in general. You shouldn't        16 problems, then, you know, you're not part of the
17   even -- this is not the place for you, if you can't     17 planning team and you're not going to be -- you're
18   put your, your bullshit aside and be like, all          18 not going to be very helpful. We want, we want
19   right, you know what? If this is what the elders or     19 people who are going to be helpful, and that's why,
20   this is what the presidents say or this is what this    20 that's why all the leadership guys, we all had, you
21   guy says who is, you know, this is what's best for      21 know, we had ten guys who we chose that we wanted to
22   the club, if you can't do that, then get the fuck       22 be, you know, very, you know, helpful. In
23   out. Just even in general, I'm so fuckin' tired of      23 Philadelphia, I called it the Ninja team. I don't
24   hearing, a dude is going, you know what, I'm going      24 know that anybody else called it a team but like --


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 1   to do this. Well, fuck you, dude. Who the fuck are       1    MR. TARRIO: We call them niggers.
 2   you?                                                     2    MR. REHL: Well, we called it the Ninja
 3      MR. REHL: Honestly, I'm going to back                 3 team, whatever. I picked my ten best guys in Philly
 4   up like what I think you're trying to say. This          4 and everything. But --
 5   chapter is all about creating like a unified front       5    MR. WOLKIND: -- about the tiny hats.
 6   in order to, you know, address these national            6    [Laughter.]
 7   rallies and everything like that. And we're not          7    [Simultaneous speech.]
 8   looking for people who are, you know, trying to          8    MR. REHL: But like we, we put this
 9   fight with us and trying to argue with us. I mean        9 together, so that way we could be a big cohesive
10   we're looking for, we are looking for input. I          10 unit to where we can actually have these rallies and
11   mean, don't get me wrong. There's going to be a lot     11 actually be successful at them. We don't want DC 1
12   of people who are going to question certain things,     12 or DC 2 happening, and we want to actually like be
13   and that's fine. And they're going to say, hey,         13 like, you know, a nationwide chapter to where we can
14   maybe, maybe that might be a good idea and here's       14 actually fuckin' help each other out and actually
15   why, or maybe this is a bad idea and this is why and    15 make these, make these rallies successful. Man,
16   everything. And like, it's not like we're not going     16 that's really what it comes down to. There is no
17   to look, you know, listen for input or anything like    17 better other way to put it, like seriously.
18   that. We're totally going to listen for input and       18    MR. TARRIO: I do want to bring up a
19   everything.                                             19 very, very important point that hasn't been talked
20      I mean, Christ, like the leadership chat             20 about and I have experience with. So I can't stress
21   that we have, it's all about input and it's all         21 to you guys more on the 6th, this is specific to
22   like, you know, going back and forth and talking        22 this event. Well, actually you know what? This is
23   about things that we think would be, you know, a        23 specific to all events. Stay the fuck away from
24   great way to move forward as far as like how we can     24 black churches, all right? Just don't, don't go


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 1   anywhere near black churches.                            1      MR. TARRIO: So we are going to attend
 2      MR. SWEATS: Fucking --                                2   the event itself. We'll give more details on that.
 3      NH PREZ ROB: How do we know they're                   3   I'm going to do this again right before, probably on
 4   black churches?                                          4   January 1st at night, I'll probably do this. Don't
 5      MR. TARRIO: Apparently --                             5   quote me on that. I might do it that day. But
 6      MR. REHL: I don't know about that, man.               6   we're going to talk, and we'll start pouring out
 7      MR. BERTINO: Well, in DC, so they're                  7   information from it. But I will tell you one thing.
 8   practically all black churches.                          8   Granted, that the first event starts at 10:00 a.m.
 9      MR. TARRIO: Apparently it's very                      9   by the Capitol.
10   obvious to know what a black church looks like, as      10      NH PREZ ROB: I thought it was 7:00 a.m.
11   opposed to a white church. You know, I thought --       11      MR. TARRIO: We'll be waking up. We'll
12      MR. SWEATS: (Inaudible), monsignor,                  12   be like on the road at like 7:00, 8:00 o'clock in
13   reverend, probably nine different titles. That's        13   the morning, so just prepare on that front to do
14   when you know it's a black church.                      14   that.
15      MR. TARRIO: You know, I would think                  15      MR. REHL: And just, just to throw it
16   that like the Victorian-looking ones were white         16   out there, like the dynamics for this entire DC
17   churches and like the ones that, you know, are like     17   rally are completely different because of the fact
18   on the side of like a shopping plaza were the black     18   that we're not going to be in colors. One of the
19   churches.                                               19   things I've been really hearing a lot about is like
20      NH PREZ ROB: Yeah, store front.                      20   oh, my God, I'm hearing so much this about what's
21      MR. TARRIO: Yeah, but apparently not,                21   going on in DC or that's going possibly be going on
22   apparently.                                             22   in DC. Guys, look, you got to understand, we're
23      MR. SWEATS: You're wrong.                            23   going without colors. So a lot, a lot of the fears
24      MR. TARRIO: I'm wrong for this shit.                 24   and dynamics that people are thinking about are just

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 1   Okay.                                                    1   complete bullshit and just ramble. I mean, and
 2      MR. WOLKIND: Cathedrals are Catholic                  2   realistically, like every single rally I've done
 3   churches and are usually Mexican.                        3   since like 2015, I've heard the same bullshit
 4      MR. TARRIO: There you go, exactly.                    4   anyway.
 5   See? Aaron knows his way around fuckin' churches         5      So I mean it's just, it's just rumbles
 6   here, which is surprising, given the fact that Aaron     6   and, and arguments. But like while we're in DC and
 7   -- [simultaneous speech.]                                7   everything, I mean it's not going to be the same
 8      MR. WOLKIND: You got to know your                     8   thing. We're not, we're not going to be doing like
 9   enemy.                                                   9   a Proud Boy fuckin', you know, 8:00 o'clock at night
10      MR. TARRIO: Given the fact that he                   10   march and flexing, flexing our guns and shit. So
11   hates Jesus but let's --                                11   you guys got to understand that. We're not doing
12      (Laughter.)                                          12   that this time. You know, we're doing a completely
13      MR. BERTINO: Do you usually wear a tiny              13   different operation. And there's, there's going to
14   hat, bro?                                               14   be a lot of contingencies and plans laid out of what
15      [Simultaneous speech.]                               15   we're actually going to do and there's going to be
16      MR. STEWART: This is really degrading                16   teams that are going to be put together to, you
17   quickly.                                                17   know, you know, where they're going to be going and
18      MR. TARRIO: Travis, do you got --                    18   what they're doing.
19      MR. BERTINO: Travis, you're muted, bro.              19      So keep that in mind too, you know.
20      MR. TARRIO: Yeah, you're muted. Do you               20   Like when you tell your guys that kind of thing, you
21   have any input?                                         21   know, spread that word a little bit. I mean, don't,
22      TRAVIS: What, so I missed a little bit,              22   don't spread it too far but, you know, spread it to
23   sorry, guys. But what's the plan for the day? Are       23   the guys that you plan on bringing and everything so
24   we, are we going to attend the event?                   24   that we, we can actually work together and make

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 1   this, make this DC event a little bit more              1      MR. TARRIO: Okay, that's it, guys.
 2   successful. Because this is, this is the training       2   Let's wrap this shit up. Love you guys, and we'll
 3   ground for, you know, this entire operation and this    3   do it again. Just stay tuned to the chat. I'm
 4   whole, you know, the structure and everything. So       4   going to keep the chat open until tomorrow noon, and
 5   we want to make it, we want to make it, you know,       5   then I'm going to close it, so you guys can enjoy
 6   successful and, you know, we definitely are going to    6   your fuckin', your New Years. And I'll go ahead and
 7   run into some problems, maybe, maybe some errors.       7   re-open it on the 1st in the morning, but I'll keep
 8   But we're going to learn from those errors and then,    8   putting up updates on there on what we're going to
 9   and then work on those errors so that we, you know,     9   do. All right?
10   we don't make those errors again in the future at      10      MR. BERTINO: All right, sounds good.
11   the next rally, so.                                    11      [Simultaneous speech.]
12      MR. BERTINO: Yeah, definitely.                      12      NH PREZ ROB: Love you, boys. Enrique,
13      MR. REHL: I just wanted to throw that               13   check your DM when you get a second, bro.
14   out there and --                                       14      MR. TARRIO: I will, I will.
15      MR. BERTINO: Can you say "errors" for               15      MR. BERTINO: Training pictures.
16   me again? Can you say "errors" one more time?          16      MR. TARRIO: And don't forget to shop at
17      MR. TARRIO: Errorrr.                                17   1776 dot shop --
18      MR. REHL: It's my (inaudible) accent.               18      [Simultaneous speech.]
19   Fuck you.                                              19      TRAVIS: Have a good night. Proud of
20      MR. BERTINO: Okay, all right. I just                20   you, boy.
21   wanted to hear it. Error, error.                       21      [End of recording.]
22      MR. TARRIO: All right, so that's it.                22
23   I'm going to wrap this shit up. We're, we're at a      23
24   minute -- an hour and 35. We'll keep doing this,       24


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                                                             1                 C E R T I F I C A T E
 1   we'll do this a little bit more often. This has
                                                             2
 2   been a little -- this has been fun. I think this is
                                                             3
 3   the best way. We do this constantly. We do video
                                                             4             I, Roberta Katz, do hereby certify that
 4   chats probably every week with, with the elders and
                                                             5 the foregoing transcript represents a complete, true
 5   stuff like them. It's very constructive and we can,
                                                             6 and accurate transcription of the electronic
 6   we can work together, because the Telegram chats,
                                                             7 recording furnished to me in the above-entitled
 7   you stay on there, you're going to fight with
 8   everybody. You know, you're going to fuckin' get        8 matter, to the best of my knowledge, skill and
 9   into an argument with everybody, dude. Just stay        9 ability.
10   off the fuckin' chats, you know.                       10
11      Not to dig up Brian because he's not                11
12   here because regardless, I'd dig at him in person      12
13   but that dude just sits and chats for way too          13
14   fuckin' long.                                          14                  ROBERTA KATZ

15      MR. REHL: Realistically, realistically,             15
16   Enrique is just tired of training pictures, that's     16 Signed April 28, 2022
17   all.                                                   17
18      MR. TARRIO: Yeah, no, actually I want               18
19   more, inbound.                                         19
20      MR. REHL: Well, all right, well, I got              20
21   Rod, Rod. Rod's in fuckin' Florida right now, so he    21
22   can hook you up with training shit probably.           22
23      MR. BERTINO: I'll be down there the                 23
24   11th through the 17th, bro.                            24


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